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                            UNITED STATES DISTRICT COURT

             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

                            HONORABLE JOHN A. KRONSTADT

                    UNITED STATES DISTRICT JUDGE PRESIDING

                                        - - -



         MS. J.P., ET AL.,                   )
                                             )
                         PLAINTIFFS,         )
                                             )
         VS.                                 ) CV18-06081-JAK
                                             )
         JEFFERSON B. SESSIONS, ET AL.,      )
                                             )
                         DEFENDANTS.         )
         ____________________________________)




                     REPORTER'S TRANSCRIPT OF PROCEEDINGS

                              LOS ANGELES, CALIFORNIA

                       MONDAY, JANUARY 7, 2019; 10:30 AM




                   ________________________________________

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  1      APPEARANCES OF COUNSEL:

  2      FOR PLAINTIFFS:         DANIEL C. CRAIG
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12

13       FOR DEFENDANTS:         (TELEPHONIC)

14                               MICHAEL C. HEYSE
                                 MICHELLE R. SLACK
15                               DANIEL GOLDMAN
                                 LANCE LOMOND JOLLEY
16                               SCOTT MICHAEL MARCONDA
                                 U.S. DEPARTMENT OF JUSTICE
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18                               WASHINGTON, DC 20044

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                                                                              3

  1           LOS ANGELES, CALIFORNIA; MONDAY, JANUARY 7, 2019

  2
                                      10:30 AM
  3
                                      - - - - -
  4

  5

  6                  THE COURT:     ITEM NO. 5, CV18-06081, MS. J.P.,

  7      ET AL., V. JEFFERSON B. SESSIONS, ET AL.

  8                         WOULD YOU STATE YOUR APPEARANCES, PLEASE,

  9      STARTING WITH PLAINTIFF'S COUNSEL.

10                   MR. CRAIG:     GOOD MORNING, YOUR HONOR.        DANIEL

11       CRAIG ON BEHALF OF THE PLAINTIFFS.

12                          WITH ME ARE MY COLLEAGUES, MICHAEL

13       ANDOLINA, SEAN COMMONS AND MARK ROSENBAUM OF PUBLIC

14       COUNSEL.

15                   THE COURT:     GOOD MORNING TO ALL OF YOU.        THANK

16       YOU.

17                          AND FOR THE DEFENDANTS?

18                   MR. HEYSE:     GOOD MORNING, YOUR HONOR.        MICHAEL

19       HEYSE ON BEHALF OF DEFENDANTS.

20                          AND ALSO ON THE LINE ARE MICHELLE SLACK,

21       DAN GOLDMAN, SCOTT MARCONDA AND LANCE JOLLEY.

22                   THE COURT:     GOOD MORNING TO ALL OF YOU.

23                          PLEASE KEEP YOUR VOICE UP, MR. HEYSE, SO

24       WE CAN HEAR YOU.      YOU ARE A LITTLE QUIET THERE.

25                   MR. HEYSE:     OKAY.
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  1                  THE COURT:     THAT'S BETTER.        THANK YOU.

  2                         YOU CAN BE SEATED, UNLESS THERE'S

  3      SOMETHING NEW?

  4                  MR. CRAIG:     THANK YOU, YOUR HONOR.

  5                  THE COURT:     AND, MR. HEYSE AND MR. GOLDMAN AND

  6      MR. JOLLEY AND MS. SLACK, ANYTIME ANY OF YOU SPEAKS BY

  7      PHONE, PLEASE FIRST IDENTIFY YOURSELF BY NAME SO THAT

  8      THE REPORTER KNOWS WHO IS SPEAKING.

  9                         AND, SECOND, THANK YOU FOR -- I KNOW THAT

10       THERE'S BEEN SOME ADMINISTRATIVE CHALLENGES TO YOUR

11       ATTENDING.     SO THANK YOU FOR ATTENDING TODAY BY

12       TELEPHONE.

13                   MR. HEYSE:     THANK YOU, YOUR HONOR, FOR

14       ACCOMMODATING OUR NEED TO APPEAR TELEPHONICALLY.               THIS

15       IS DEFINITELY NOT OUR PREFERRED MANNER OF APPEARANCE,

16       SO THANK YOU.

17                   THE COURT:     YOU'RE WELCOME.

18                          WHAT I'D LIKE TO START WITH IS -- WE HAD

19       A LENGTHY HEARING, AND I'M AWARE OF THE ISSUES THAT

20       ARE -- WE DISCUSSED PREVIOUSLY.         AND I'M MINDFUL OF THE

21       RECENT CASE CITATION THAT THE UNITED STATES HAS

22       SUBMITTED, THE DISTRICT COURT'S DECISION IN THE

23       DOE V. SHENANDOAH VALLEY CASE.

24                          BUT BEFORE WE TURN TO THE MOTION TO

25       DISMISS ISSUES, I WANTED TO KNOW A COUPLE OF THINGS.
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  1                         FIRST, I PREVIOUSLY RECEIVED SUPPLEMENTAL

  2      INFORMATION CONCERNING THE MEMBERS OF THE PUTATIVE

  3      CLASS, INCLUDING THOSE WHO WERE DETAINED.

  4                         ARE THOSE WHO WERE PREVIOUSLY IDENTIFIED

  5      AS BEING DETAINED STILL BEING DETAINED, AS FAR AS YOU

  6      KNOW, MR. HEYSE?

  7                  MR. HEYSE:     AT THIS TIME, WE ARE WORKING ON

  8      UPDATING THAT INFORMATION.         UNFORTUNATELY, GIVEN THE

  9      SHUTDOWN, THAT IS RATHER DIFFICULT.

10                          THERE ARE FOLKS OVER AT HHS AND DHS THAT

11       ARE WORKING TOGETHER ON THAT, KEEPING THAT UP TO DATE.

12                          BUT IN TERMS OF GETTING A REPORT OUT, WE

13       HAD HOPED TO GET SOMETHING BEFORE THE HEARING TODAY.

14       WE'RE HOPING TO GET SOMETHING TO THE COURT SOON ON

15       THAT.

16                   THE COURT:     DO YOU HAVE ANY TIME ESTIMATE?

17                   MR. HEYSE:     GIVEN THE SHUTDOWN, IT'S HARD TO

18       SAY.

19                          I THINK WE CAN HAVE SOMETHING SOON.         I'M

20       HESITANT TO PROMISE ANYTHING GIVEN THE SITUATION.

21                          I WOULD SAY NO LATER THAN TWO WEEKS, 14

22       DAYS.

23                   THE COURT:     OKAY.   AND I KNOW YOU'RE LOOKING

24       FOR THE DATA, SO I'M NOT ASKING -- SO IN ASKING THIS

25       QUESTION, I'M NOT ASKING YOU TO GUESS.
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  1                         BUT DO YOU HAVE ANY REASON, AT THIS

  2      POINT, TO -- A REASONABLE BASIS TO CONCLUDE THAT

  3      THERE'S -- THAT NONE OF THESE PERSONS IN THE -- HAVE

  4      BEEN IDENTIFIED AS STILL BEING DETAINED?

  5                  MR. HEYSE:     NONE STILL DETAINED?       I, HONESTLY,

  6      DON'T HAVE THE MEANS TO SAY AT THIS TIME EXACTLY HOW

  7      MANY ARE.

  8                         IS IT NONE, AGAIN (INAUDIBLE) TO ME AS

  9      SAYING 38.     I DON'T KNOW.

10                   THE COURT:     OKAY.   THAT'S FINE.

11                          MR. CRAIG, WHO WILL BE ADDRESSING,

12       INITIALLY, ISSUES FOR THE PLAINTIFFS?

13                   MR. CRAIG:     I WILL, YOUR HONOR.

14                   THE COURT:     AGAIN, I'M NOT QUITE AT THE ISSUES

15       EXPRESSLY FOR TODAY YET.        BUT IF A CLASS WERE

16       CERTIFIED, AND COMMUNICATION WITH CLASS MEMBERS WERE

17       DEEMED NECESSARY, DO YOU HAVE A METHOD OF DOING THAT?

18                   MR. CRAIG:     WE BELIEVE THAT THE GOVERNMENT HAS

19       A METHOD OF DOING THAT.        THE REASON WE THINK SO IS,

20       MANY OF THE CLASS MEMBERS ARE IN IMMIGRATION OR

21       ASYLUM-RELATED PROCEEDINGS.         I.C.E. TRACKS THOSE -- AS

22       THE PARTIES OF THOSE PROCEEDINGS, THEY KNOW WHERE

23       THEY'RE PENDING.      THEY NOW HOW TO GET NOTICE TO THEM.

24                          AND I WILL NOTE THAT, IN THE MS. L. CASE

25       THAT'S PENDING BEFORE JUDGE SABRAW, THERE'S BEEN A
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  1      SETTLEMENT.        AND THE GOVERNMENT HAS AGREED AS -- OR I

  2      DON'T KNOW IF THEY HAVE AGREED, BUT HAVE BEEN ORDERED

  3      TO --

  4                  THE COURT:      SLOW DOWN.

  5                  MR. CRAIG:      I WILL, YOUR HONOR.

  6                          THE GOVERNMENT IS TO BE PROVIDING NOTICE

  7      TO THE MEMBERS OF THE CLASSES THAT WERE SUBJECT TO THAT

  8      SETTLEMENT.

  9                  THE COURT:      IF A CLASS WERE CERTIFIED HERE, IS

10       IT YOUR EXPECTATION THAT THE PLAINTIFFS WOULD AGREE

11       TO -- LET ME PUT IT DIFFERENTLY.

12                           IT'S COMMON IN A CLASS ACTION FOR

13       COMMUNICATIONS WITH CLASS MEMBERS NOT TO BE MADE BY THE

14       DEFENDANT.

15                           SO YOU ANTICIPATE THAT THERE WOULD BE AN

16       ADMINISTRATIVE PROCESS PURSUANT TO WHICH COMMUNICATION

17       COULD OCCUR, IF THE CLASS WERE CERTIFIED?

18                   MR. CRAIG:      YES, YOUR HONOR.

19                   THE COURT:      MR. HEYSE, DO YOU AGREE WITH THAT?

20                   MR. HEYSE:      AT THIS TIME -- I MEAN, GIVEN A

21       LOT OF OUR ARGUMENTS HERE DEAL WITH HOW SIMILAR THIS

22       CASE IS TO MS. L., AT THE SAME TOKEN, THE

23       COMMUNICATIONS IN MS. L., THE AGREEMENT BY THE

24       GOVERNMENT THERE TO COMMUNICATE WITH THE AFFECTED

25       INDIVIDUALS IS UNDER A DIFFERENT CIRCUMSTANCE.              THAT'S
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  1      ABOUT REUNIFYING THEM WITH, YOU KNOW, THE PARENTS AND

  2      CHILDREN.

  3                         YOU ALSO HAVE A LOT OF PEOPLE THAT ARE

  4      OUT OF THE COUNTRY.       SO THOSE ISSUES, THAT'S ALL PART

  5      OF THAT CASE.      WHETHER OR NOT WE WOULD BE EXPECTED TO

  6      DO THE PLAINTIFF'S JOB, IN ESSENCE, CONTACTING THE

  7      PEOPLE THAT THEY WANT TO REPRESENT, AGAIN, FROM THE

  8      SOUND OF IT, IT SOUNDS VERY DUPLICATIVE OF WHAT'S GOING

  9      ON IN MS. L.

10                          TO THE EXTENT WE CAN FACILITATE, AGAIN, I

11       CAN'T AGREE TO THESE THINGS WITHOUT TAKING THAT BACK TO

12       OUR CLIENTS.

13                   THE COURT:     NO, I UNDERSTAND.

14                          I'M NOT HERE TO HAVE YOU ARGUE ABOUT THE

15       FIRST TO FILE.

16                          IF I CONCLUDE THAT -- AGREE WITH YOU,

17       MR. HEYSE, ON FIRST TO FILE, THEN THERE WOULDN'T BE AN

18       ISSUE HERE.

19                          IF I, ULTIMATELY, WERE TO DISAGREE WITH

20       YOU ON THAT AND STILL PROCEED, THEN THERE WOULD BE A

21       POTENTIAL OVERLAPPING ISSUE IN TERMS OF HOW BEST TO

22       COMMUNICATE WITH MEMBERS OF THE CLASS.           SO I'M JUST

23       THINKING ABOUT THAT ADMINISTRATIVELY.

24                          SO LET ME ASK YOU A DIFFERENT QUESTION.

25       IT'S BEEN -- AS IT HAS BEEN MENTIONED ALREADY, THE
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  1      MS. L. -- THE PARTIES IN MS. L. REACHED A SETTLEMENT.

  2      THAT'S GOOD.

  3                         HAVE THE PARTIES HERE -- I'M NOT ASKING

  4      ABOUT THE SUBSTANCE OF ANY DISCUSSION, BUT HAVE THERE

  5      BEEN ANY DISCUSSIONS BETWEEN THE PARTIES IN THIS ACTION

  6      ABOUT TRYING TO RESOLVE IT?

  7                  MR. CRAIG:     THERE HAVE BEEN LIMITED

  8      DISCUSSIONS, YOUR HONOR, THAT WERE ULTIMATELY NOT

  9      FRUITFUL.

10                   THE COURT:     WHEN DID THEY CONCLUDE?

11                   MR. CRAIG:     I BELIEVE -- I WAS NOT PARTY TO

12       THOSE DISCUSSIONS, BUT I BELIEVE IT WAS A MONTH OR TWO

13       AGO.

14                   THE COURT:     AFTER OR BEFORE MS. L. WAS

15       SETTLED?

16                   MR. CRAIG:     I'M NOT CERTAIN, YOUR HONOR.

17                   THE COURT:     MR. HEYSE, DO YOU KNOW?

18                   MR. HEYSE:     IT WAS ACTUALLY MORE RECENT THAN

19       THAT.    I THINK OUR LAST COMMUNICATION ON THIS WAS

20       PRETTY CLOSE TO AROUND THE CHRISTMAS HOLIDAYS.

21                          AND, YES, IT WAS SUBSEQUENT TO THE MS. L.

22       SETTLEMENT.

23                   THE COURT:     AGAIN, I'M NOT ASKING ABOUT THE

24       SUBSTANCE OF ANY COMMUNICATIONS; BUT, MR. HEYSE, DO YOU

25       THINK THAT THERE WOULD BE A VALUE IN SOME FURTHER
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  1       DISCUSSIONS?

  2                         AND, IF SO, AT WHAT POINT?

  3                  MR. HEYSE:     THE GOVERNMENT'S RESPONSE --

  4       AGAIN, I'M TRYING TO AVOID GETTING INTO THE MERITS OF

  5       WHAT WE DISCUSSED.

  6                         THE GOVERNMENT'S RESPONSE TO THE

  7       PLAINTIFF'S OFFER WAS, THAT WE DID NOT ACCEPT THEIR

  8       INITIAL OFFER.      BUT WE WERE OPEN TO HEARING ANOTHER

  9       PROPOSAL FROM THEM, A DIFFERENT ONE, AND DIDN'T RECEIVE

 10       ANY RESPONSE TO THAT.

 11                  THE COURT:     OKAY.    HAVE ANY OF YOUR -- WELL,

 12       MR. HEYSE, WERE YOU INVOLVED IN THE DISCUSSIONS IN

 13       MS. L.?

 14                  MR. HEYSE:     NO.

 15                  THE COURT:     OKAY.    DO YOU THINK THAT, IF THERE

 16       WERE TO BE FURTHER DISCUSSIONS OF TRYING TO RESOLVE

 17       THIS MATTER, IT WOULD BE PRODUCTIVE TO HAVE A

 18       FACILITATOR, A BENCH OFFICER OR ANOTHER PERSON?

 19                  MR. HEYSE:     I'M HESITANT TO SAY "NO" HAVING

 20       PARTICIPATED IN MEDIATIONS AND THE LIKE IN THE PAST,

 21       MANY OF THEM.     IN THIS SITUATION, I FEEL -- WITHOUT A

 22       RESPONSE FROM THE PLAINTIFFS AS TO OUR LAST MESSAGE ON

 23       THIS SUBJECT, I'M NOT SURE IT WOULD BE FRUITFUL.

 24                  THE COURT:     I DIDN'T MEAN TO SAY THAT.        I JUST

 25       WANT TO KNOW IF BOTH SIDES THOUGHT IT WOULD BE
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  1       PRODUCTIVE TO HAVE SOME FURTHER DISCUSSIONS, THEN MY

  2       QUESTION WOULD BE, DO YOU THINK IT WOULD BE VALUABLE TO

  3       HAVE THEM FACILITATED OR IS THAT SOMETHING YOU DON'T

  4       THINK YOU CAN DETERMINE UNTIL YOU KNOW WHERE THE

  5       PARTIES -- YOU KNOW THE PARTIES' RESPECTIVE POSITIONS?

  6                  MR. HEYSE:     I'D AGREE WITH THE LATTER.        I

  7       THINK WE NEED SOME INDICATION OF A WILLINGNESS TO

  8       NEGOTIATE, PUT IT THAT WAY.

  9                  THE COURT:     MR. CRAIG?

 10                  MR. CRAIG:     OF COURSE WE'RE ALWAYS WILLING TO

 11       NEGOTIATE AND INTERESTED IN RESOLVING CASES BY

 12       NEGOTIATION.      BUT, AGAIN, WITHOUT GETTING INTO THE

 13       SUBSTANCE OF THE NEGOTIATIONS, THE PARTIES ARE VERY FAR

 14       APART.

 15                         IF THE COURT WISHES, WE'LL BE HAPPY TO

 16       MAKE A COUNTER-PROPOSAL.        I THINK IT'S LIKELY TO RESULT

 17       IN AN IMPASSE AND NOT ONE THAT'S EASILY BRIDGED.

 18                  THE COURT:     IF YOU MADE A COUNTER-PROPOSAL,

 19       AND MR. HEYSE AND HIS COLLEAGUES AND OTHERS WITH WHOM

 20       THEY'RE WORKING CONCLUDED THAT SOME FURTHER DISCUSSIONS

 21       MIGHT BE PRODUCTIVE, DO YOU HAVE A VIEW ON WHETHER

 22       WORKING WITH A BENCH OFFICER OR OTHER FACILITATOR WOULD

 23       BE PRODUCTIVE?

 24                  MR. CRAIG:     THAT PROBABLY WOULD BE PRODUCTIVE

 25       IF THE GOVERNMENT IS OF THE VIEW THAT THERE'S A GAP
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  1       THAT CAN BE BRIDGED HERE.         IT'S ALWAYS GOOD TO HAVE A

  2       THIRD PARTY.

  3                   THE COURT:    OKAY.    THANK YOU.    LET ME TURN TO

  4       ONE OTHER QUESTION.

  5                         THERE WAS -- I BELIEVE THERE WAS SOME

  6       RECENT REPORTING ABOUT A CONGRESSIONAL APPROPRIATION OF

  7       APPROXIMATELY $4 MILLION TO BE USED FOR CERTAIN

  8       PURPOSES.

  9                         ARE YOU AWARE OF THAT, MR. HEYSE?

 10                   MR. HEYSE:    YES.    I BELIEVE WE REFERENCED THAT

 11       IN OUR -- YES, YOUR HONOR.         I BELIEVE WE REFERENCED

 12       THAT IN OUR LAST FILING WITH THE COURT.           NOT THE

 13       SHENANDOAH CASE, BUT THE LAST ONE BEFORE THAT.              I THINK

 14       IT WAS OUR LAST JOINT REPORT REGARDING THE NUMBERS YOUR

 15       HONOR HAD ASKED ABOUT.

 16                   THE COURT:    ALL RIGHT.     AND ARE THOSE -- DO

 17       YOU KNOW THE STATUS OF THAT APPROPRIATION, IN LIGHT OF

 18       THE CURRENT FISCAL CIRCUMSTANCES?

 19                   MR. HEYSE:    I BELIEVE THOSE COUNT AS

 20       ALREADY -- IF NOT AVAILABLE, ALREADY EXPENDED FUNDS.

 21       THAT WAS FOR A PRIOR APPROPRIATION FOR HHS.            I DON'T

 22       KNOW -- I DON'T BELIEVE HHS IS AFFECTED BY THE CURRENT

 23       SHUTDOWN.    IT'S A -- UNFORTUNATELY, WE ARE.          BUT I

 24       THINK IT'S ONLY ROUGHLY 25 PERCENT OF THE GOVERNMENT.

 25       AND I BELIEVE HHS IS FUNDED.         I'M NOT CERTAIN ON THAT.
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  1                         BUT EITHER WAY, I THINK THAT GRANT WAS

  2       ALREADY GIVEN.      AND I THINK IT WAS IN PLACE AS OF

  3       DECEMBER 1ST.     I BELIEVE IT WAS REFERENCED IN OUR

  4       FILINGS.

  5                  THE COURT:     DO YOU KNOW WHETHER THOSE FUNDS

  6       HAVE ALREADY BEEN EXPENDED OR ALLOCATED?

  7                  MR. HEYSE:     I DON'T KNOW FOR CERTAIN.        I CAN

  8       CERTAINLY CHECK, BUT I WOULD BELIEVE SO BASED ON MY

  9       UNDERSTANDING OF HOW THIS WORKS.         BUT I CAN CERTAINLY

 10       CONFIRM THAT.

 11                  THE COURT:     IF YOU WOULD, I WOULD APPRECIATE

 12       THAT.

 13                         MR. CRAIG, DO YOU HAVE ANY INSIGHT ON

 14       THAT?

 15                  MR. CRAIG:     I'M NOT CERTAIN IF THEY HAVE BEEN

 16       EXPENDED OR NOT, YOUR HONOR.

 17                  THE COURT:     OKAY.    JUST A MINUTE.

 18                  MR. HEYSE:     I'M HEARING FROM CO-COUNSEL THAT

 19       HHS IS CURRENTLY FUNDED.

 20                  THE COURT:     WITH RESPECT TO THIS $4 MILLION

 21       AMOUNT, HAS THAT -- IT HAS BEEN PROVIDED TO HHS AND HAS

 22       IT BEEN EXPENDED, OR YOU DON'T KNOW?

 23                  MR. HEYSE:     I BELIEVE IT'S HHS TAKING MONEY

 24       OUT OF ITS OWN BUDGET.       IT'S A CONGRESSIONAL

 25       AUTHORIZATION TO SPEND IN A CERTAIN (INAUDIBLE) WAY.
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  1       IT WAS A GRANT THAT HHS GAVE OUT TO COMMUNITY

  2       PROVIDERS.

  3                  THE COURT:     OKAY.    DO YOU KNOW WHETHER --

  4       OKAY.

  5                         WELL, THE QUESTION IS, DO YOU KNOW

  6       WHETHER THOSE FUNDS THEN HAVE BEEN DISTRIBUTED?

  7                  MR. HEYSE:     I DO NOT.    I CAN CERTAINLY ASK.

  8                  THE COURT:     THANK YOU.

  9                         BEFORE WE TURN TO THE MOTION TO DISMISS,

 10       ONE OTHER QUESTION FOR YOU.

 11                         IF THE MOTION -- IF THIS MATTER WERE TO

 12       PROCEED ON THE MERITS, MR. CRAIG, DO YOU HAVE A TIME

 13       ESTIMATE FOR THE AMOUNT OF TIME THAT WOULD BE REQUIRED

 14       BETWEEN NOW AND TRIAL?

 15                  MR. CRAIG:     WE OBVIOUSLY HAVE A STRONG

 16       INTEREST, YOUR HONOR, IN MOVING THIS TO TRIAL AS

 17       EXPEDITIOUSLY AS POSSIBLE.

 18                         WE THINK THERE WOULD BE CERTAINLY SOME

 19       DISCOVERY NECESSARY.

 20                         WE THINK THAT IS SOMETHING THAT COULD

 21       BE -- JUST SORT OF A BACK-OF-THE-ENVELOPE CALCULATION,

 22       MY ESTIMATE WOULD BE THREE TO SIX MONTHS FOR WRITTEN

 23       DISCOVERY.    AND, HOPEFULLY, BY THE END OF THE SIX-MONTH

 24       PERIOD, ANY DEPOSITIONS THAT NEED TO BE TAKEN.

 25                         OBVIOUSLY, WE ARE EAGER TO MOVE THIS JUST
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  1       AS QUICKLY AS POSSIBLE AND ARE NOT INTERESTED IN

  2       DRAGGING THINGS OUT.       OUR CLIENTS ARE SEEKING RELIEF AS

  3       EXPEDITIOUSLY AS POSSIBLE.

  4                  THE COURT:     ALL RIGHT.     WELL, IF THAT

  5       ESTIMATE -- ASSUMING, AGAIN, THAT THIS WERE TO --

  6       PUTTING ASIDE THE AMOUNT OF TIME THAT'S NECESSARY

  7       BETWEEN NOW AND WHEN AN ORDER ISSUES ON THE MOTION TO

  8       DISMISS, AND JUST ASSUMING, HYPOTHETICALLY, THE MATTER

  9       WERE TO -- THAT THE MOTION WERE DENIED, THEN IF IT TOOK

 10       THREE TO SIX MONTHS FROM THEN TO CONDUCT WRITTEN

 11       DISCOVERY AND THEN DEPOSITIONS, DO YOU THINK IT'S

 12       REALISTIC THAT YOU WOULD BE READY FOR TRIAL SOONER THAN

 13       12 MONTHS FROM NOW?

 14                  MR. CRAIG:     I THINK SO, YOUR HONOR.

 15                         AND, PERHAPS, YOU KNOW, ANOTHER TWO

 16       MONTHS AFTER THE SIX, SO WE'RE GETTING TO SEVEN OR

 17       EIGHT MONTHS TO PREPARE FOR TRIAL.         THIS IS, LIKE I

 18       SAID, A HIGH PRIORITY FOR OUR CLIENTS.           AND WE WILL

 19       BRING THE RESOURCES THAT NEED TO BE BROUGHT TO BEAR.

 20                  THE COURT:     MR. HEYSE, DO YOU HAVE ANY TIME

 21       ESTIMATES?

 22                  MR. HEYSE:     GOING BACK TO THE TIME ESTIMATES

 23       WE'VE ALREADY DISCUSSED THAT PREDATE THE MOTION TO

 24       DISMISS, I BELIEVE BACK IN AUGUST, WE HAD DISCUSSED A

 25       DISCOVERY SCHEDULE AND A TRIAL SCHEDULE.           AND I THINK
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  1       OUR PROPOSED TRIAL DATE AT THAT TIME WAS APRIL 2020.

  2       SO EIGHT MONTHS FROM NOW IS ONLY SEPTEMBER 2019.             SO

  3       THAT'S A PRETTY AGGRESSIVE ACCELERATION.

  4                         DISCOVERY-WISE, WE'RE LOOKING AT -- YOU

  5       KNOW, AGAIN, THIS DEPENDS ON A LOT OF CONTINGENT

  6       EVENTS.     IF THE COURT CERTIFIES THE CLASS, IT DEPENDS

  7       ON WHETHER THE CLASS IS CERTIFIED AS IS, HOW MANY

  8       PEOPLE ARE INVOLVED THERE.        POTENTIALLY LOOKING AT A

  9       VERY LARGE NUMBER OF NOT ONLY DOCUMENTS, BUT ALSO

 10       DEPOSITIONS AND GOING ACROSS SEVERAL GOVERNMENT

 11       AGENCIES AND SUB-AGENCIES WITHIN, ESPECIALLY WITHIN

 12       DHS.

 13                         I CAN'T AGREE TO THAT AGGRESSIVE OF A

 14       SCHEDULE.     I UNDERSTAND THE ISSUE INVOLVED AND WANTING

 15       TO RESOLVE IT QUICKLY.       BUT I WOULD STICK WITH OUR

 16       ORIGINAL AGREED-UPON SCHEDULE.

 17                   THE COURT:    THANK YOU, MR. HEYSE.

 18                         THEN TURNING TO THE MOTION TO DISMISS,

 19       SOME OF THE MATTERS DO OVERLAP WITH ISSUES THAT WE'VE

 20       DISCUSSED PREVIOUSLY OR THAT HAVE BEEN BRIEFED

 21       PREVIOUSLY.

 22                         BUT I SEE THE ISSUES THAT ARE BEING

 23       PRESENTED HERE AS WHETHER THE CLAIMS ARE MOOT IN LIGHT

 24       OF THE RESOLUTION OF THE MS. L. ACTION, AND THE CURRENT

 25       STATUS OF THE FAMILY SEPARATION POLICY, WHICH IS NO
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  1       LONGER IN PLACE, AS I UNDERSTAND IT.

  2                         MY TENTATIVE VIEW ON THAT IS THAT - AND

  3       I'LL HEAR FROM YOU - BOTH BECAUSE CLAIMS CAN BE

  4       INHERENTLY TRANSITORY, AND BECAUSE THE RELIEF BEING

  5       SOUGHT HERE IS DIFFERENT -- GOES BEYOND JUST FAMILY

  6       SEPARATION -- FAMILY REUNIFICATION, BUT WHICH SEEKS THE

  7       MENTAL HEALTH TREATMENT, THAT THE CLAIMS ARE NOT MOOT.

  8                         WHEN I TALK ABOUT "INHERENTLY

  9       TRANSITORY," THE COURTS HAVE ACKNOWLEDGED THAT

 10       INDIVIDUALS IN TEMPORARY GOVERNMENT DETENTION MAY

 11       NECESSARILY BE TRANSITORY.        AND I THINK THOSE

 12       RATIONALES APPLY HERE IN TERMS OF ASSESSING THE

 13       MOOTNESS POINT.

 14                         WITH RESPECT TO WHETHER THERE IS A VIABLE

 15       DUE PROCESS CLAIM, AGAIN, THIS HAS BEEN -- WE DISCUSSED

 16       THIS, AND IT WAS BRIEFED IN CONNECTION WITH THE MOTION

 17       FOR PRELIMINARY INJUNCTION.        I THINK THAT THE COMPLAINT

 18       ADEQUATELY STATES A CLAIM.

 19                         I DON'T THINK IT'S -- I THINK THAT IT'S

 20       NOT DISPUTED THAT THE GOVERNMENT HAS AN OBLIGATION TO

 21       PROVIDE ADEQUATE MEDICAL CARE TO THOSE DETAINEES WHO

 22       WERE WITHIN ITS CONTROL, AS THE KELLY CASE NOTED.

 23                         AND THE ONGOING DISPUTE IS, WHAT --

 24       WHETHER THERE WOULD BE A -- WHETHER THERE CAN BE A

 25       STATED CLAIM AS TO THOSE WHO HAVE NOT BEEN -- EXCUSE
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  1       ME -- WHO HAVE BEEN RELEASED.        AND I THINK THAT THIS

  2       ANALYSIS CAN BE BROUGHT BOTH IN THE DUE PROCESS

  3       CONTEXT, WHICH -- WELL, IN THE DUE PROCESS CONTEXT,

  4       WHICH IS DIFFERENT THAN THE EIGHTH AMENDMENT CONTEXT IN

  5       TERMS OF THE RELEVANT STANDARDS.

  6                         WITH RESPECT TO THOSE WHO MAY REMAIN IN

  7       CUSTODY -- AND IT'S UNCERTAIN OF THE NUMBERS, BUT I

  8       THINK THAT THERE'S BEEN -- I THINK THE ALLEGATIONS ARE

  9       SUFFICIENT TO STATE A CLAIM AS TO THE ALLEGED FAILURE

 10       TO PROVIDE SUFFICIENT MENTAL HEALTH AND TRAUMA RELATED

 11       SCREENING AND CARE.

 12                         IT GOES BEYOND THE ALLEGATIONS INASMUCH

 13       AS EACH SIDE HAS PRESENTED EVIDENCE AS TO WHETHER THERE

 14       HAS OR HAS NOT BEEN ADEQUATE SCREENING AND CARE

 15       PROVIDED.    SO I DON'T THINK THAT -- I THINK THAT

 16       THERE'S AN ADEQUATE STATEMENT OF THE -- THE COMPLAINT

 17       ADEQUATELY ALLEGES A CLAIM UNDER THE DUE PROCESS

 18       CLAUSE.

 19                         AND WITH RESPECT TO DELIBERATE

 20       INDIFFERENCE, I THINK, AGAIN, THAT'S BEEN ADEQUATELY

 21       STATED.

 22                         I'M MINDFUL THAT THE DOE V. SHENANDOAH

 23       VALLEY CASE IS OF A DIFFERENT NATURE IN THE SENSE THAT

 24       THE TYPE OF CLAIM THAT'S BEING BROUGHT THERE, WHICH IS

 25       DIFFERENT -- IT'S A DIFFERENT SUBSTANTIVE BASIS, THE
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  1       MONELL CLAIM THERE.

  2                         WITH RESPECT TO THOSE PERSONS WHO ARE NO

  3       LONGER IN CUSTODY, THE ALLEGATIONS OF THE SPECIAL

  4       RELATIONSHIP THAT FORM THE BASIS FOR THE ARGUMENT ON

  5       SPECIAL RELATIONSHIP, AS WELL AS THE STATE-CREATED

  6       DANGER ISSUE, I THINK, AGAIN, ARE SUFFICIENT --

  7       ADEQUATE TO STATE A CLAIM.

  8                         I THINK THAT THE WAKEFIELD AND OTHER

  9       CASES ACKNOWLEDGE THAT THERE CAN BE AN OBLIGATION TO

 10       CONTINUE TO PROVIDE CERTAIN TRANSITIONAL TREATMENT TO

 11       THOSE WHO ARE IN NEED OF MEDICAL CARE WHILE IN CUSTODY.

 12       AND I THINK THAT, THEREFORE, THE COMPLAINT ADEQUATELY

 13       STATES A CLAIM WITH RESPECT TO THAT.

 14                         THE STATE-CREATED DANGER DOCTRINE HAS

 15       BEEN APPLIED IN DIFFERENT CONTEXTS, RELEASING SOMEBODY

 16       INTO EXTREME COLD WEATHER, REQUIRING A PERSON TO STAY

 17       IN A PARTICULAR PLACE, WHICH IS OF A DIFFERENT NATURE

 18       THAN WHAT I'VE JUST REFERRED TO.         AND, AGAIN, I THINK

 19       THAT -- FOR PURPOSES OF A MOTION TO DISMISS, I DON'T

 20       THINK THE CLAIMS HERE FAIL TO -- OR THE ALLEGATIONS ARE

 21       INSUFFICIENT.     AND I'M MINDFUL, OF COURSE, AS ALL OF

 22       YOU ARE, THAT WE ALSO HAVE SOME EVIDENCE THAT'S BEEN

 23       OFFERED BY EACH SIDE ON THESE POINTS.

 24                         WITH RESPECT TO THE SOVEREIGN IMMUNITY

 25       ISSUE, BECAUSE THE CLAIMS HERE -- I MEAN, THE SOVEREIGN
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  1       IMMUNITY ANALYSIS DOES GO TO THE NATURE OF THE RELIEF

  2       THAT'S BEING SOUGHT AND THE BASIS FOR THAT RELIEF.              AND

  3       THE ALLEGATIONS HERE INCLUDE ONES THAT ARE BASED ON THE

  4       ADMINISTRATIVE PROCEDURE ACT, 5, U.S.C. SECTION 702,

  5       WHICH WAIVES SOVEREIGN IMMUNITY FOR THOSE WHO ARE

  6       SEEKING RELIEF OTHER THAN MONETARY DAMAGES.            AND I

  7       THINK THAT, AGAIN, THE COMPLAINT HERE ADEQUATELY STATES

  8       A CLAIM FOR SUCH RELIEF.

  9                         IN BOWEN, THE SUPREME COURT ADDRESSED AN

 10       ORDER THAT -- REQUIRING THE ENFORCEMENT OF THE MEDICAID

 11       ACT, AND CONCLUDED THAT IT WASN'T A SUIT FOR

 12       COMPENSATION, BUT TO ENFORCE THE STATUTORY MANDATE OF

 13       THE ALLOCATION OF FUNDS.        SO I THINK THAT, AGAIN, FOR

 14       PURPOSES OF STATING A CLAIM FOR RELIEF, AND IN LIGHT OF

 15       THE NATURE OF THE RELIEF SOUGHT, THAT THE SOVEREIGN

 16       IMMUNITY WOULDN'T -- DOESN'T BAR THE CLAIMS, FOR THE

 17       REASONS THAT I'VE JUST STATED, UNDER THE ADMINISTRATIVE

 18       PROCEDURE ACT.      THIS IS NOT -- THE COMPLAINT ISN'T

 19       FRAMED AS ONE FOR MONETARY RELIEF.

 20                         WITH RESPECT TO THE MS. L. ACTION, WE'VE

 21       ALLUDED TO THAT ALREADY -- OR DISCUSSED IT BRIEFLY

 22       ALREADY.    AND, AGAIN, I THINK THAT THE ISSUE THERE IS

 23       SIMILAR -- IT'S VERY SIMILAR TO THE ONE THAT WE HAVE --

 24       WE PREVIOUSLY DISCUSSED WITH RESPECT TO FIRST TO FILE.

 25       THE RESOLUTION OF THE ACTION THERE, AS I SAID, AS TO
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  1       MOOTNESS DOESN'T RESOLVE THE CLAIMS HERE THAT GO TO THE

  2       ISSUE OF ADEQUATE RELIEF, MENTAL HEALTH TREATMENT.              SO

  3       I DON'T THINK THAT THE DETERMINATION HERE ON THAT

  4       ISSUE, BASED ON THE ALLEGATIONS OF THE COMPLAINT, WOULD

  5       BE INCONSISTENT WITH THE OUTCOME IN MS. L.

  6                         NOW, THE NEWLY RAISED -- THE ARGUMENT

  7       THAT I THINK HASN'T PREVIOUSLY BEEN DISCUSSED IS VENUE.

  8       AND WITH RESPECT TO VENUE UNDER 1391(E), THERE ARE

  9       THREE POSSIBLE BASES FOR VENUE.         IN ANY JUDICIAL

 10       DISTRICT WHERE THE DEFENDANT IN THE ACTION RESIDES,

 11       THAT'S A.     B, A SUBSTANTIAL PART OF THE EVENTS OR

 12       OMISSIONS GIVING RISE TO THE CLAIM OCCURRED; OR, C, THE

 13       PLAINTIFF RESIDES IF NO REAL PROPERTY IS INVOLVED IN

 14       THE ACTION.

 15                         WITH RESPECT TO SUB-CATEGORY C, I AGREE

 16       WITH THE GOVERNMENT THAT, AS NON-CITIZENS AND

 17       NON-LAWFUL PERMANENT RESIDENTS, THE PLAINTIFFS CANNOT

 18       RELY ON SUBSECTION C.

 19                         WITH RESPECT TO SUBSECTION A, WHERE THE

 20       DEFENDANT RESIDES, THERE ARE -- IT IS ALLEGED THAT TWO

 21       OF THE INDIVIDUAL DEFENDANTS, MARIN AND VON NORDHEIM,

 22       DO ALLEGEDLY RESIDE IN THIS DISTRICT.

 23                         HOWEVER, I THINK, IN GENERAL, ALL FEDERAL

 24       DEFENDANTS ARE DEEMED TO RESIDE IN WASHINGTON DC, AND

 25       THAT VENUE DOESN'T NECESSARILY RESIDE -- LIE IN EVERY
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  1       DISTRICT WHERE THERE IS A REGIONAL OFFICE OR AN

  2       EMPLOYEE.

  3                         THE ISSUE THEN TURNS -- THE REMAINING

  4       PRONG IS B, A SUBSTANTIAL-PART-OF-THE-EVENTS PRONG.

  5       AND, HERE, MY TENTATIVE VIEW IS THAT, THE COMPLAINT

  6       DOES SATISFY THAT, INSOFAR AS IT ALLEGES THAT PLAINTIFF

  7       J.P. WAS DETAINED IN THE MUSICK FACILITY IN IRVINE,

  8       CALIFORNIA, WHICH IS WITHIN THIS DISTRICT, AND THAT THE

  9       CLAIMS ARISE FROM HER SEPARATION FROM HER DAUGHTER AND

 10       THE MENTAL HEALTH TREATMENT, OR LACK THEREOF, THAT WAS

 11       ALLEGEDLY PROVIDED.

 12                         THE OTHER TWO NAMED PLAINTIFFS, THERE ARE

 13       NOT ALLEGATIONS OR SHOWING THAT THEY WERE DETAINED IN

 14       THIS DISTRICT; BUT IT'S NOT REQUIRED THAT ALL EVENTS

 15       OCCUR IN THE DISTRICT.

 16                         I THINK THERE'S A SECOND ISSUE.         THERE IS

 17       AUTHORITY THAT THE REQUIREMENT OF A CHALLENGE TO VENUE

 18       CAN BE WAIVED.      AND THE VENUE WAS, I THINK, FIRST

 19       ADDRESSED IN THE MOTION TO DISMISS, NOT IN THE BRIEFING

 20       ON THE OTHER MOTIONS.       SO THE QUESTION WOULD BECOME

 21       WHETHER THERE'S WAIVER.

 22                         SO THOSE ARE MY TENTATIVE VIEWS AT THIS

 23       TIME.

 24                         SO, MR. HEYSE, WILL YOU BE ADDRESSING ALL

 25       OF THESE ISSUES OR SOME OF THEM?
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  1                  MR. HEYSE:     ALL OF THEM, YOUR HONOR.

  2                  THE COURT:     LET ME HEAR FROM YOU, PLEASE.

  3                  MR. HEYSE:     OKAY.    I CAN WORK BACKWARDS, IF

  4       YOU WOULD LIKE.

  5                         REGARDING VENUE, ESPECIALLY AS REGARDS TO

  6       WAIVER, THE UNUSUAL CIRCUMSTANCES OF --

  7                  THE COURT:     SLOW DOWN, PLEASE.

  8                  MR. HEYSE:     GIVEN THE WAY THE BRIEFING

  9       PROCEEDED IN THIS MATTER, IT STARTED OUT RESPONDING TO

 10       CLASS CERTIFICATION AND THE PRELIMINARY INJUNCTION

 11       MOTION BEFORE WE HAD THE CHANCE TO DRAFT A MOTION TO

 12       DISMISS.    AND I BELIEVE, AT THE TIME, WE HAD, MAYBE, A

 13       WEEK TO DRAFT THAT RESPONSE.        I BELIEVE WE --

 14                  THE COURT:     MR. HEYSE, YOU NEED TO SPEAK

 15       LOUDER.

 16                  MR. HEYSE:     WE WOULD DISPUTE THAT WE WAIVED

 17       ANY VENUE CLAIMS GIVEN THE CIRCUMSTANCES OF BRIEFING IN

 18       THIS MATTER.      THE WAY THINGS WERE DONE IS A BIT

 19       UNUSUAL.    SO, FOR THAT REASON, WE BELIEVE WE'VE

 20       ADEQUATELY PRESERVED OUR VENUE ARGUMENTS.

 21                         WITH RESPECT TO A SUBSTANTIAL PART OF THE

 22       EVENTS OCCURRING AT MUSICK, AT BEST, IT WAS AN

 23       EXTREMELY LIMITED PORTION OF THE EVENTS IN THIS CASE.

 24       IT'S AN ALLEGATION THAT -- A CONCLUSORY ALLEGATION IN

 25       THE COMPLAINT THAT SHE DID NOT RECEIVE CARE WHILE AT
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  1       MUSICK.     IS THAT ENOUGH TO PRESERVE VENUE FOR

  2       EVERYTHING, FOR A NATIONWIDE CLASS?             IS THAT

  3       SUBSTANTIAL ENOUGH?       I MEAN, THAT'S A QUESTION FOR YOUR

  4       HONOR'S DISCRETION, I ASSUME.

  5                   THE COURT:    LET ME ASK YOU THIS, IF PERSONS

  6       HAVE BEEN DETAINED IN VARIOUS DISTRICTS ACROSS THE

  7       COUNTRY, WOULD VENUE BE MORE APPROPRIATE IN ONE THAN

  8       ANOTHER?

  9                   MR. HEYSE:    IN THIS SITUATION, VENUE WOULD BE

 10       MOST LIKELY APPROPRIATE IN WASHINGTON DC.             IT HAS THE

 11       MOST COMMON NUCLEUS OF INDIVIDUALS INVOLVED IN THIS

 12       MATTER, INVOLVED IN THE DECISION-MAKING PROCESS, PEOPLE

 13       THAT ADMINISTER DHS FUNCTIONS ARE PRIMARILY HOUSED

 14       HERE.     I BELIEVE YOUR HONOR MENTIONED THAT AS WELL.

 15                   THE COURT:    NO, I AGREE UNDER --

 16                   MR. HEYSE:    THEY'RE SPREAD ACROSS THE COUNTRY,

 17       ESPECIALLY ACROSS THE SOUTHWEST UNITED STATES IN THIS

 18       MATTER.     BUT, AT THIS TIME, THE INDIVIDUALS ARE -- NONE

 19       OF THEM RESIDE IN YOUR DISTRICT.         THEY'RE EVERYWHERE.

 20       I BELIEVE NONE OF THE PLAINTIFFS ARE EVEN IN THE STATE

 21       OF CALIFORNIA -- OR NONE OF THE NAMED PLAINTIFFS ARE IN

 22       CALIFORNIA.

 23                         SO WHICH ONE IS BEST?         IT WOULD MAKE

 24       SENSE, BASICALLY, IN A FORUM NON CONVENIENS QUESTION

 25       FOR THE DEFENDANT --
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  1                  THE COURT:     WE CAN'T HEAR YOU.

  2                  MR. HEYSE:     I'M SORRY, CAN YOU HEAR ME NOW?

  3                  THE COURT:     YES.

  4                         YOU SAID THAT NONE OF THE PLAINTIFFS

  5       RESIDES IN THIS DISTRICT.

  6                         DOES THAT -- IS THAT BASED ON UP-TO-DATE

  7       INFORMATION AS OPPOSED TO, FOR EXAMPLE, WHERE -- JUST A

  8       MINUTE -- WHERE PLAINTIFF J.P. IS?

  9                  MR. HEYSE:     I BELIEVE PLAINTIFF J.P. IS IN

 10       FLORIDA, AT LAST NOTICE TO US.

 11                         I THINK PLAINTIFF R.M. IS IN MARYLAND, IF

 12       I REMEMBER CORRECTLY.

 13                         THESE ARE COMING FROM, I BELIEVE, CLASS

 14       CERTIFICATION FILINGS.       I'M DRAWING THIS FROM MEMORY.

 15       NONE OF THEM ARE IN CALIFORNIA, UNLESS THEY HAVE MOVED.

 16       WE HAVE NOT RECEIVED ANY INDICATION THEY HAVE

 17       RELOCATED.

 18                  THE COURT:     ALL RIGHT.     LET ME JUST STOP THERE

 19       FOR A MOMENT.

 20                         MR. HEYSE, IS THERE MORE YOU WANTED TO

 21       SAY ABOUT VENUE?

 22                  MR. HEYSE:     I THINK THAT'S ALL FOR VENUE.

 23                  THE COURT:     ALL RIGHT.     JUST A MOMENT.

 24                  MR. CRAIG:     AT THE TIME OF FILING, WHICH IS

 25       WHEN VENUE IS DETERMINED, MS. J.P. WAS STILL DETAINED
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  1       AT THE MUSICK FACILITY IN THIS DISTRICT.

  2                         THAT'S NOT THE SOLE SUBSTANTIAL

  3       CONNECTION TO THIS DISTRICT THAT IS IN THIS CASE.             THIS

  4       DISTRICT IS ALSO WHERE SHE WAS RELEASED FROM DETENTION

  5       WITHOUT THE MEDICAL TREATMENT THAT WE ARE SEEKING UNDER

  6       THE WAKEFIELD DOCTRINE.

  7                         THE GOVERNMENT, AS I UNDERSTAND WHAT

  8       MR. HEYSE HAS SAID, CONSIDERED BRINGING A VENUE

  9       OBJECTION IN THEIR BRIEFING ON A PRELIMINARY INJUNCTION

 10       MOTION OR THE CLASS CERTIFICATION MOTION, BUT DID NOT.

 11                         AND, REALLY, ULTIMATELY, THIS CASE IS

 12       ABOUT THE FAILURE OF THE GOVERNMENT TO PROVIDE THE

 13       REQUIRED MENTAL HEALTHCARE SCREENING AND TREATMENT THAT

 14       IS REQUIRED BECAUSE OF THE TRAUMA THAT IT INFLICTED.

 15       AND THAT HAPPENED HERE.       THAT HAPPENED HERE FOR

 16       MS. J.P. WHEN SHE WAS SUFFERING FROM TRAUMA IN

 17       DETENTION HERE.      THAT WAS WHERE THEY DID NOT PROVIDE

 18       THE TREATMENT.

 19                         THE GOVERNMENT HAS ATTACKED OUR COMPLAINT

 20       AS CONCLUSORY, BUT THAT'S -- IT'S A FACTUAL ALLEGATION

 21       THAT SHE DID NOT RECEIVE MENTAL HEALTHCARE TREATMENT

 22       AND SCREENING THAT WAS UP TO THE EVIDENCE-BASED

 23       STANDARDS THAT OUR COMPLAINT ALLEGES WHEN SHE WAS HERE.

 24       THAT'S NOT A LEGAL CONCLUSION.         IT'S A FACT.

 25                         I WILL ALSO NOTE THAT NONE OF THE OTHER
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  1       CASES, MS. L. -- THERE WAS A CASE FILED IN THE DISTRICT

  2       OF MASSACHUSETTS.      NONE OF THOSE CASES MOVED VENUE TO

  3       DC.   THE GOVERNMENT HAS NOT SOUGHT IT AND --

  4                  THE COURT:     DOES THAT MATTER?

  5                  MR. CRAIG:     WELL, IT JUST PROVIDES CONTEXT.

  6       VENUE IS A QUESTION ABOUT, CAN WE BRING IT HERE OR CAN

  7       WE NOT BRING IT HERE?       AND THEY HAVE NOT ALLEGED AN

  8       ARGUMENT OR NO OTHER COURT, TO OUR KNOWLEDGE, HAS

  9       ACCEPTED AN ARGUMENT THAT A CASE BROUGHT IN CALIFORNIA

 10       OR IN MASSACHUSETTS CANNOT BE --

 11                  THE COURT:     THE MASSACHUSETTS ACTION IS A

 12       PUTATIVE CLASS OF MINORS; CORRECT?

 13                  MR. CRAIG:     I BELIEVE THAT'S CORRECT, YOUR

 14       HONOR.    YES.

 15                  THE COURT:     DO WE KNOW WHETHER THE MINORS,

 16       SOME OF THEM LIVE IN -- OR ARE PRESENTLY IN

 17       MASSACHUSETTS OR WERE AT THE TIME THAT WAS FILED?

 18                  MR. CRAIG:     I AM NOT SURE OF THAT, YOUR HONOR.

 19       ALTHOUGH I WOULD EXPECT, GIVEN THE DEFINITION OF THE

 20       CLASS, SOME OF THE CLASS MEMBERS WOULD HAVE BEEN THERE.

 21                         I WILL ALSO SAY THAT, RESPECTFULLY --

 22       YOUR HONOR, WITH RESPECT TO THE SECOND PRONG OF THE

 23       VENUE ANALYSIS ABOUT THE RESIDENCE OF THE FEDERAL

 24       GOVERNMENT AND THE FEDERAL EMPLOYEES, THE DEFENDANTS IN

 25       THIS CASE, THE LINE OF CASES WHICH I BELIEVE YOU'RE
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  1       THINKING OF THAT, SAY, A FEDERAL AGENCY IS NOT RESIDENT

  2       EVERYWHERE THAT IT HAS A BRANCH OFFICE OR SOMETHING

  3       LIKE THAT, THAT'S CORRECT.

  4                         BUT THAT'S NOT THE BASIS THAT WE'RE

  5       SEEKING VENUE HERE AGAINST DEFENDANTS NORDHEIM AND

  6       MARIN.    THEIR CONDUCT HAPPENED HERE.          THEY ARE -- AS

  7       FEDERAL EMPLOYEES, THEIR OFFICIAL RESIDENCE IS THE

  8       PLACE WHERE THEY DO THEIR OFFICIAL WORK.            AND THAT IS

  9       HERE IN THIS DISTRICT.       AND SO THAT'S ANOTHER BASIS TO

 10       FIND THAT VENUE IS APPROPRIATE HERE.

 11                  THE COURT:     ALL RIGHT.     THANK YOU, MR. CRAIG.

 12                         MR. HEYSE, ANYTHING IN RESPONSE, BRIEFLY?

 13                  MR. HEYSE:     YES, JUST A COUPLE OF THINGS.

 14                         REGARDING THE TWO NAMED DEFENDANTS THAT

 15       DO WORK IN THE CENTRAL DISTRICT, THIS CASE IS REALLY

 16       ABOUT GENERAL POLICY MAKING.        SO WHETHER OR NOT THE

 17       WARDEN OF MUSICK OR ANYONE ELSE IN THAT DISTRICT WAS

 18       INVOLVED IN THE CARE HERE, IT WAS NOT THEIR

 19       DECISION-MAKING NECESSARILY THAT WAS DRIVING WHAT

 20       PLAINTIFFS ARE COMPLAINING ABOUT HERE.            IT'S THE

 21       GENERAL POLICY THAT THE PLAINTIFFS ARE COMPLAINING

 22       ABOUT, THE SEPARATION AND THE ALLEGED FAILURE TO CARE

 23       FOR IT.

 24                         ALSO, THE WAIVER DEFENSE, BY RULE, IF NOT

 25       RAISED -- EXCUSE ME, A WAIVER ARGUMENT IS ONLY WAIVED
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  1       IF IT'S NOT RAISED IN A RULE 12 MOTION OR RESPONSIVE

  2       PLEADING, WHICH WOULD BE THE ANSWER IN THIS CASE.             AND

  3       THAT -- ACTUALLY, WE HAVEN'T YET FILED OUR ANSWER IN

  4       THIS CASE.

  5                         LASTLY, THE WAIVER, IF THERE IS ANY

  6       ALLEGED WAIVER HERE, IT CAN BE WAIVED.           THE PLAINTIFFS

  7       HAVE NEVER PREVIOUSLY CONTENDED THAT WE WAIVED A VENUE

  8       ARGUMENT.

  9                   THE COURT:    OKAY.    ALL RIGHT.    THANK YOU.

 10                         MR. HEYSE, LET'S THEN TURN TO THE OTHER

 11       ISSUES.     I'LL HEAR FROM YOU WITH RESPECT TO THE ISSUES

 12       THAT I MENTIONED EARLIER, THE MOOTNESS, DUE PROCESS,

 13       SOVEREIGN IMMUNITY AND THE OVERLAP WITH MS. L.

 14                   MR. HEYSE:    YES.    I'LL START WITH THE

 15       WAKEFIELD-BASED CLAIMS.       THAT REALLY IS THE LINCHPIN OF

 16       THIS CASE, WHETHER OR NOT THIS COURT CAN BE EXPECTED TO

 17       EXTEND WAKEFIELD AS FAR AS THE PLAINTIFFS ARE ASKING.

 18                         AGAIN, YOUR HONOR HAS ACKNOWLEDGED THAT

 19       THE DELIBERATE INDIFFERENCE STANDARD SHOULD BE THE

 20       STANDARD THAT APPLIES HERE.        WHETHER OR NOT THE FACTS

 21       HAVE BEEN ADEQUATELY PLED, THAT'S A DIFFERENT QUESTION.

 22                         BUT LOOKING BACK TO WAKEFIELD ITSELF,

 23       WAKEFIELD INVOLVED A VERY NARROW SET OF CIRCUMSTANCES

 24       IN WHICH A GOVERNMENT AGENT, A PRISON OFFICIAL, WAS

 25       AWARE OF A CONDITION OF A DETAINEE THAT WAS BEING
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  1       RELEASED.    HE HAD A MEDICAL CONDITION AND NEEDED A

  2       PRESCRIPTION FILLED.       AND DESPITE KNOWING THIS, THE

  3       DETENTION OFFICER RELEASED HIM WITHOUT PROVIDING HIM

  4       WITH A PRESCRIPTION BECAUSE HE WAS TOO BUSY.             THAT WAS

  5       AN ACTUAL QUOTE, "THAT HE WAS TOO BUSY TO PROVIDE THIS

  6       PRESCRIPTION" FOR TWO-WEEKS WORTH OF MEDICATION.

  7                         WHAT PLAINTIFFS ARE ASKING FOR HERE GOES

  8       FAR BEYOND TWO WEEKS OF PRESCRIPTION MEDICATION.               BY

  9       THEIR OWN DEFINITION, IT HAS NO END.            IT ONLY ENDS

 10       WHENEVER THEIR ALLEGED AILMENT IS CURED.

 11                         WAKEFIELD SAYS NOTHING OF THE SORT, IF

 12       ANYTHING.    THE GOVERNMENT DOESN'T CONCEDE THAT

 13       WAKEFIELD APPLIES HERE AT ALL, GIVEN IT HAS NOT BEEN

 14       APPLIED TO IMMIGRATION DETENTION, OTHER THAN THE CASE

 15       WE PREVIOUSLY DISCUSSED, WHICH WAS THE CHARLES MATTER.

 16       I BELIEVE WE DISCUSSED THAT AT THE CLASS AND T.I.

 17       HEARING.    THAT WAS OUT OF NEW YORK.

 18                         BUT, ULTIMATELY, WAKEFIELD IS A MUCH MORE

 19       NARROW CIRCUMSTANCE WHERE THE GOVERNMENT HAS, IF ANY

 20       DUTY, A VERY LIMITED DUTY TO PROVIDE CARE FOR SOMEONE

 21       THAT HAS BEEN RELEASED FROM CUSTODY.

 22                         AND THE REASON FOR THAT IS, THAT

 23       INDIVIDUALS IN CUSTODY LACKED THE ABILITY TO PROVIDE

 24       FOR THEIR OWN CARE.       ONCE THEY'RE RELEASED, THEY'RE

 25       ABLE TO GO OUT AND FIND THEIR OWN DOCTORS; BUT THERE
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                                                                            31

  1       MIGHT BE A BRIEF TRANSITION PERIOD, WHICH PLAINTIFFS

  2       DON'T CONCEDE.      PLAINTIFFS ACTUALLY QUOTE THAT LANGUAGE

  3       IN THEIR OPPOSITION TO THE MOTION TO DISMISS.            I

  4       BELIEVE THAT'S PAGE 9 OF THEIR OPPOSITION.            THEY

  5       ACKNOWLEDGE THAT THIS SHOULD BE A BRIEF TRANSITIONAL

  6       PERIOD, IF ANYTHING.

  7                         AND THE PLAINTIFFS HERE WERE ALL RELEASED

  8       AND REUNITED IN JULY.       WE'RE TALKING ABOUT AT LEAST SIX

  9       MONTHS AGO AT THIS POINT -- OR ALMOST SIX MONTHS AT

 10       THIS POINT.

 11                         WAKEFIELD WAS DESCRIBING TWO WEEKS OF

 12       POST-RELEASE PRESCRIPTION MEDICATION, NOT ONGOING

 13       MENTAL HEALTH SERVICES, VISITING WITH A MEDICAL

 14       PROFESSIONAL ON A ROUTINE BASIS.

 15                         BUT BACKING THAT EVEN FARTHER IS WHETHER

 16       OR NOT THE GOVERNMENT WAS -- OR THE DETAINING OFFICERS

 17       WERE AWARE OF THE KIND OF TRAUMA THAT THE PLAINTIFFS

 18       ALLEGE THEY WERE SUFFERING.

 19                         WAS THERE ANY KIND OF MANIFESTATION OF

 20       THAT?

 21                         WAS THERE ANY INDICATION TO THE OFFICERS,

 22       BESIDES THE SUGGESTED POSSIBILITY OF IT, THAT THESE

 23       INDIVIDUALS WERE SUFFERING FROM TRAUMA?

 24                         AND THAT (INAUDIBLE) HAS OUTWARD

 25       MANIFESTATIONS, AS PLAINTIFFS HAVE STATED IN THEIR
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                                                                            32

  1       COMPLAINT.    IN THEIR VARIOUS RESPONSIVE PLEADINGS, IT

  2       HAS INDICATED THAT THESE KINDS OF THINGS DO HAVE

  3       OUTWARD MANIFESTATION, INCLUDING --

  4                   THE COURT:    WE DIDN'T HEAR YOU.       RESTATE YOUR

  5       LAST POINT, PLEASE.

  6                   MR. HEYSE:    SURE.

  7                         THE PLAINTIFFS HAVE DESCRIBED CERTAIN

  8       MANIFESTATIONS OF THE ALLEGED TRAUMA THAT COULD BE

  9       EXPECTED.

 10                         THEIR OWN ALLEGED EXPERTS HAVE PUT FORTH

 11       STATEMENTS DESCRIBING HOW INDIVIDUALS SUFFERING FROM

 12       POST-TRAUMATIC STRESS DISORDER OR EVEN ACTIVE STRESS

 13       DISORDER, TRAUMATIC STRESS DISORDER WOULD MANIFEST

 14       THOSE SITUATIONS SO THAT THE OFFICIALS WOULD KNOW.

 15                         THAT WAS THE POINT IN WAKEFIELD, IS THAT

 16       THE PRISON OFFICIALS WERE AWARE THAT WAKEFIELD HAD A

 17       MEDICAL CONDITION, AND THEY WERE DELIBERATELY

 18       INDIFFERENT TO IT.       THAT'S PART OF THE ANALYSIS.        THERE

 19       HAS TO BE A SUBJECTIVE AWARENESS OF THE AILMENT IN

 20       ORDER FOR A GOVERNMENT OFFICIAL TO ACT DELIBERATELY

 21       INDIFFERENTLY BY IGNORING IT, FAILING TO DO ANYTHING,

 22       AND WITH A SUBJECTIVE KNOWLEDGE THAT DOING SO WOULD PUT

 23       THAT INDIVIDUAL AT RISK.

 24                         AND WHAT THE RECORD DOESN'T SHOW IS THAT

 25       THESE INDIVIDUALS EVER ASKED FOR ADDITIONAL CARE OR
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  1       THAT, WHEN THEY WERE GIVEN CARE -- THEY CLAIMED THEY

  2       WERE GIVEN NONE.      AND, YET, R.M. PROVIDED A DECLARATION

  3       WITH THE OPPOSITION TO THE MOTION TO DISMISS THAT

  4       INDICATES THAT ADDITIONAL CARE WOULDN'T HELP.            BUT SHE

  5       ALSO INDICATES THAT SHE WAS RECEIVING SCREENING.             SHE

  6       WAS VISITING WITH MEDICAL PROFESSIONALS, MENTAL HEALTH

  7       PROFESSIONALS EVEN.

  8                         THESE SYSTEMS ARE IN PLACE.        THESE

  9       OPPORTUNITIES TO GET CARE ARE PRESENT.

 10                         ON TOP OF THAT, THE PRISON GUARDS -- I

 11       SHOULDN'T SAY "PRISON GUARDS."         THE I.C.E. DETENTION

 12       GUARDS ACTED IN A WAY TO CHECK ON THESE INDIVIDUALS.

 13       THEY ARE CLEARLY OBLIGATED TO PROVIDE, QUOTE, "ADEQUATE

 14       CARE."    IT'S NOT -- AND THAT'S WHAT'S DISCUSSED IN

 15       SHENANDOAH, IS THAT THE CARE THAT'S PROVIDED HAS TO BE

 16       CONSTITUTIONALLY ADEQUATE.        IT DOESN'T NECESSARILY MEAN

 17       THE ACCESS TO THE, QUOTE, "BEST AND MOST EXPENSIVE FORM

 18       OF TREATMENT," BUT IT'S STILL CONSTITUTIONALLY

 19       ADEQUATE.    AND PART OF THAT INVOLVES KEEPING AN EYE ON

 20       THESE INDIVIDUALS.

 21                         AND SO IF THESE FOLKS DIDN'T EVER ASK FOR

 22       ANY ADDITIONAL CARE OR OTHERWISE SHOW ANY SIGNS THAT

 23       THEY NEEDED IT, HOW IS THE GOVERNMENT THEN ACTING

 24       DELIBERATELY INDIFFERENTLY TO THEIR NEED FOR CARE,

 25       BECAUSE THAT REQUIRES BOTH A SUBJECTIVE AND OBJECTIVE
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  1       COMPONENT?

  2                  THE COURT:     ALL RIGHT.     IS THERE --

  3                  MR. HEYSE:     GO AHEAD.

  4                  THE COURT:     WOULD YOU LIKE TO ADDRESS THE

  5       SOVEREIGN IMMUNITY ISSUE?

  6                  MR. HEYSE:     CERTAINLY, YOUR HONOR.

  7                         REGARDING SOVEREIGN IMMUNITY, THE

  8       DIFFERENCE HERE GETS BACK TO THE TYPE OF RELIEF SOUGHT.

  9                         THE APA WAIVES SOVEREIGN IMMUNITY FOR

 10       CLAIMS THAT ARE NOT SEEKING MONETARY RELIEF.              AND THE

 11       DISTINCTION COMES DOWN TO WHETHER OR NOT THE REQUESTED

 12       RELIEF IS SPECIFIC OR COMPENSATORY.             AND YOUR HONOR

 13       DISCUSSED BOWEN.      THAT'S EXACTLY WHAT'S DISCUSSED IN

 14       BOWEN.

 15                         IN ALL OF THE CASES SUBSEQUENT TO THAT,

 16       ALL OF THE CASES THAT THE PLAINTIFFS HAVE CITED,

 17       INCLUDING IN BOWEN, THE ISSUE IS WHETHER OR NOT THE

 18       GOVERNMENT HAD A PREEXISTING DUTY WITH WHICH IT WASN'T

 19       COMPLYING.    IN BOWEN, IT WAS MEDICARE.           IN THE MARCEAU

 20       CASE, THE GOVERNMENT HAD A CONTRACTUAL DUTY THAT IT --

 21       IT WASN'T BEING FULFILLED.

 22                         SO THIS GETS BACK TO WAKEFIELD.           THEY'RE

 23       DIRECTLY MIXED TOGETHER.        WHETHER OR NOT THE GOVERNMENT

 24       HAS A DUTY OF CARE TO PROVIDE CARE FOR THESE

 25       INDIVIDUALS AFTER THEY HAVE BEEN RELEASED, AFTER THEY
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  1       ARE ABLE TO GO FIND THEIR OWN DOCTORS, IF THAT DUTY

  2       EXISTS, THEN, YES, THAT WOULD MAKE SENSE.           THAT WOULD

  3       PERHAPS CONVERT THIS INTO A SPECIFIC CLAIM.            BUT THAT

  4       DUTY DOES NOT EXIST.       AND THE GOVERNMENT CLEARLY ARGUES

  5       THAT THAT DUTY DOES NOT EXIST, ESPECIALLY AT THIS POINT

  6       SIX MONTHS POST RELEASE.        ABSENT THAT DUTY, THIS IS

  7       SEEKING COMPENSATORY RELIEF.

  8                         NOW, IT MIGHT BE PHRASED AS SEEKING

  9       INJUNCTIVE RELIEF.      THAT'S PRECISELY WHAT THE COURTS

 10       HAVE CONSISTENTLY CAUTIONED AGAINST, INCLUDING THE

 11       SUPREME COURT IN GREAT-WEST.        THE SOVEREIGN IMMUNITY

 12       WAIVER REQUIRES MORE THAN CREATIVE PLEADING.

 13                         IT'S 534 U.S. AT 211, FOOTNOTE 1, THE

 14       COURT STATED THAT, "LAWYERLY INVENTIVENESS ENABLES ANY

 15       CLAIM TO BE PHRASED AS AN INJUNCTION."

 16                         AND YOUR HONOR, AT THE PRIOR HEARING,

 17       ASKED THE PLAINTIFFS WHETHER OR NOT WHAT THEY WERE

 18       ASKING FOR WAS AKIN TO A VOUCHER PROGRAM?           AND THEY

 19       COULDN'T EXPLAIN THE DIFFERENCE.         THEY COULDN'T EXPLAIN

 20       EXACTLY WHAT IT WAS THEY WANT THIS COURT TO ORDER, HOW

 21       THEY WANT IT TO LOOK.

 22                         AND, IN REALITY, WHAT THEY'RE ASKING FOR

 23       IS EXACTLY WHAT THE COURT IN SHENANDOAH IS DESCRIBING,

 24       THE BEST AND MOST EXPENSIVE FORM OF TREATMENT OF THEIR

 25       CHOOSING.    THAT'S SIMPLY NOT WHAT THE GOVERNMENT IS
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  1       OBLIGATED TO PROVIDE.

  2                         YES, THE GOVERNMENT IS OBLIGATED TO

  3       PROVIDE ADEQUATE CARE.       BUT IS IT OBLIGATED TO PROVIDE

  4       THE BEST POSSIBLE CARE?       AND THAT'S SIMPLY NOT THE

  5       CASE.   THAT'S JUST BEEN A CONSISTENT DISTINCTION ACROSS

  6       THE CASE LAW THAT WE'VE BEEN DISCUSSING HERE.            SO

  7       THAT'S WHY THE TWO ARE TIED TOGETHER.

  8                         SOVEREIGN IMMUNITY, WHETHER THE

  9       GOVERNMENT IS OBLIGATED HERE, HAS A CONSTITUTIONAL DUTY

 10       TO PROVIDE THIS KIND OF MEDICAL CARE DEPENDS ON WHETHER

 11       THE COURT IS WILLING TO EXTEND WAKEFIELD FAR BEYOND THE

 12       ORIGINAL DESIGN.

 13                         THE GOVERNMENT ARGUES, FIRST, THAT THAT

 14       SHOULD NOT BE EXTENDED IN THAT WAY.

 15                         AND THEN, SECOND, THE GOVERNMENT ARGUES

 16       THAT SOVEREIGN IMMUNITY HAS NOT BEEN WAIVED HERE BASED

 17       ON THE TYPE OF RELIEF THE PLAINTIFFS ARE SEEKING.

 18                  THE COURT:     I UNDERSTAND.

 19                  MR. HEYSE:     THEY HAVE DESCRIBED IT AS

 20       "INJUNCTIVE RELIEF."       BUT, IN REALITY, IT IS

 21       "COMPENSATORY DAMAGES."

 22                  THE COURT:     OKAY.    IS THERE ANYTHING YOU WOULD

 23       LIKE TO ADD ON THE FIRST TO FILE, THE MS. L. ISSUE?

 24                  MR. HEYSE:     YES.

 25                         REGARDING THE ADEQUACY OF THE CLASS,
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  1       WHAT -- SOMETHING THAT STANDS OUT FROM WHAT YOUR HONOR

  2       HAS BEEN DESCRIBING, YOUR HONOR FREQUENTLY DISCUSSED

  3       THE DISTINCTION BETWEEN THOSE THAT -- AND WE -- AGAIN,

  4       WE DON'T KNOW THE NUMBER.        BUT THERE MAY LIKELY BE SOME

  5       STILL DETAINED HERE THAT WERE SEPARATED FROM -- OR ARE

  6       SEPARATED FROM THEIR CHILDREN.

  7                         THERE'S A CRITICAL DISTINCTION BETWEEN

  8       THOSE THAT ARE DETAINED AND THOSE THAT HAVE BEEN

  9       RELEASED.

 10                         ALL OF THE NAMED PLAINTIFFS HERE HAVE ALL

 11       BEEN RELEASED.      THEY HAVE ALL BEEN REUNITED.        SO WHY OR

 12       HOW COULD THEY BE ADEQUATE REPRESENTATIVES FOR THOSE

 13       THAT ARE STILL DETAINED?

 14                         THE GOVERNMENT DOESN'T DISPUTE THAT THOSE

 15       THAT ARE DETAINED ARE OWED AN ADEQUATE DUTY OF CARE.

 16                         BUT AS TO THOSE THAT HAVE BEEN RELEASED

 17       AND REUNITED, WHETHER OR NOT THEY'RE OWED ANY DUTY, WE

 18       JUST FINISHED DISCUSSING THAT.         BUT WHY WOULD THE NAMED

 19       PLAINTIFFS HERE, AND WHY -- GIVEN THAT THE PLAINTIFFS

 20       AND THEIR COUNSEL HAVE HAD AT LEAST TWO MONTHS' WORTH

 21       OF NOTICE THAT THERE ARE THESE INDIVIDUALS, WHY HAVE

 22       THEY NOT ADDED ANYONE TO THEIR CASE THAT DESCRIBES

 23       WHAT'S GOING ON WITH A DETAINED PERSON THAT IS

 24       SEPARATED FROM THEIR CHILD?

 25                         IN TERMS OF THE MS. L. LITIGATION AS IT
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  1       APPLIES TO THIS CASE, AGAIN, THE PLAINTIFFS HAVE

  2       CONSISTENTLY STATED THAT THE CLASSES ARE THE SAME, THE

  3       PEOPLE INVOLVED ARE THE SAME.        THIS IS CLASSIC CLAIM

  4       SPLITTING.

  5                         THIS IS A CLAIM THAT SHOULD HAVE AND

  6       ACTUALLY WAS RAISED IN MS. L.        IT WAS A -- WE HAVE

  7       POINTED THIS OUT.      I BELIEVE WE SIGNALED THIS TO THE

  8       COURT CLOSE IN TIME TO THE CLASS ACTION HEARING.              I

  9       CAN'T REMEMBER IF IT WAS BEFORE OR AFTER, BUT IT WAS

 10       VERY CLOSE IN TIME.       THAT COUNSEL IN MS. L. SUGGESTED

 11       THAT THE GOVERNMENT SHOULD BE REQUIRED TO CREATE A FUND

 12       FOR MENTAL HEALTHCARE.       SO THAT'S AN ISSUE THEY COULD

 13       HAVE PURSUED.     THEY DID PURSUE.      WHETHER OR NOT THEY

 14       HAVE CONTINUED TO DO SO IS A DIFFERENT QUESTION.              IT'S

 15       A LITIGATION POINT FOR THEM.        BUT THAT IS CLASSIC CLAIM

 16       SPLITTING.    WHY SHOULD THIS CASE BE ALLOWED TO PROCEED

 17       WHEN IT'S IDENTICAL OTHERWISE?

 18                         THE DISTINCTION THAT THE PLAINTIFFS ARE

 19       TRYING TO MAKE HERE IS THAT THEY'RE SEEKING DIFFERENT

 20       RELIEF.    THAT DOES NOT MAKE IT AVOID CLAIM SPLITTING

 21       BECAUSE CLAIM SPLITTING INVOLVES ISSUES OF RES JUDICATA

 22       WHERE THEY COULD HAVE BROUGHT THIS ISSUE.           AND, IN

 23       FACT, HAVE IN MS. L.       IT HAS BEEN RAISED IN MS. L.

 24                  THE COURT:     JUST A MINUTE.

 25                         IF THERE'S A SETTLEMENT AGREEMENT IN
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  1       MS. L., DO YOU KNOW WHETHER IT CONTAINS ANY RELEASES?

  2                   MR. HEYSE:     I AM NOT AWARE OF THE ENTIRE SCOPE

  3       OF THE MS. L. SETTLEMENT.         I BELIEVE IT'S NOT A TOTAL

  4       SETTLEMENT.       SO IT CALLS INTO QUESTION WHAT IS EXACTLY

  5       GOING ON.     I BELIEVE THEY'RE ACTUALLY FILING AN UPDATE

  6       IN MS. L. SOON.

  7                          WE'RE TRYING TO WORK WITH THEM HERE.

  8       AGAIN, GIVEN THE SHUTDOWN, THINGS ARE VERY COMPLICATED

  9       IN TERMS OF WHO WE CAN EVEN REACH.          SO THAT'S ALL

 10       PRETTY FLUID AT THIS POINT.

 11                          I CAN CERTAINLY TRY TO CLARIFY WITH THEM

 12       EXACTLY WHAT THAT SETTLEMENT MEANS.              BUT, AGAIN, EVEN

 13       IF THERE WAS A (INAUDIBLE), THIS WAS A CLAIM THAT COULD

 14       ARE HAVE BEEN BROUGHT IN MS. L. AND WASN'T.               SO THAT

 15       WOULD BE CLASSIC RES JUDICATA.

 16                          IT WOULD BE A CASE WHERE -- OR EVEN

 17       COLLATERAL ESTOPPEL.        IT'S AN ISSUE THAT HAS BEEN

 18       REACHED ON THE MERITS OR A WHOLE CASE HAS BEEN

 19       ADJUDICATED ON ITS MERITS, IF IT IS INDEED A COMPLETE

 20       SETTLEMENT.       THAT THEY DIDN'T BRING IT THERE DOES NOT

 21       SOMEHOW ENABLE THEM TO BRING IT HERE WHEN IT'S THE

 22       EXACT SAME PEOPLE INVOLVED AND THE EXACT SAME NUCLEUS

 23       OF FACTS.

 24                   THE COURT:     I UNDERSTAND THAT PART.

 25                          BUT DO YOU THINK THAT DETERMINATION CAN
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  1       BE MADE WITHOUT EVALUATING THE SETTLEMENT AGREEMENT

  2       ITSELF?

  3                   MR. HEYSE:     I'M NOT SURE THAT'S ENTIRELY

  4       RELEVANT, YOUR HONOR, GIVEN MY STATEMENT THAT, IT'S A

  5       POINT THAT EITHER WAS OR COULD HAVE BEEN.            IT DOESN'T

  6       NECESSARILY HAVE TO HAVE BEEN RAISED.

  7                   THE COURT:     I UNDERSTAND.

  8                          BUT, ORDINARILY, A CLAIM PRECLUSION

  9       CONTEMPLATES THAT THERE'S A FINAL -- THERE'S AN END TO

 10       THE LITIGATION AND THERE'S A JUDGMENT.

 11                   MR. HEYSE:     RIGHT.

 12                          SO, YES, IN THAT CONTEXT, IT WOULD BE IF

 13       MS. L. IS ONGOING.       AND I BELIEVE IT IS.       I CAN

 14       CERTAINLY CONFIRM THAT, OR AT LEAST ATTEMPT TO SOON.

 15       BUT I BELIEVE MS. L. IS AN ONGOING MATTER DESPITE THE

 16       SETTLEMENT.       I BELIEVE THEY HAVE SETTLED CERTAIN

 17       ASPECTS, BUT NOT THE FULL CASE.

 18                          JUST TO REITERATE, I FOUND THE QUOTE FROM

 19       THE MS. L. PLEADING.        THEY REQUESTED THAT, QUOTE,

 20       "DEFENDANTS ESTABLISH A FUND TO PAY FOR PROFESSIONAL

 21       MENTAL HEALTH COUNSELING WHICH WILL BE USED TO TREAT

 22       CHILDREN WHO ARE SUFFERING FROM SEVERE TRAUMA AS A

 23       RESULT OF THEIR FORCIBLE SEPARATION FROM THEIR

 24       PARENTS."     THAT'S THE MS. L. MATTER, ECF NUMBER 104 AT

 25       PAGE 13.
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  1                  THE COURT:      ALL RIGHT.

  2                  MR. HEYSE:      ONE OTHER POINT, IF I MAY, AS TO

  3       THE FIRST TO FILE AND THE MOOTNESS EXCEPTIONS?

  4                          REGARDING WHETHER OR NOT THIS IS

  5       INHERENTLY TRANSITORY, THE PLAINTIFFS HAVE ACTUALLY

  6       NEVER ARGUED THAT, SO THAT WOULD BE A NEW POINT HERE.

  7       HAPPY TO PROVIDE ADDITIONAL BRIEFING ON IT, AS THE

  8       COURT REQUIRES.

  9                          AND THIS IS A DISTINCT DOCTRINE FROM

 10       THINGS THAT ARE CAPABLE OF REPETITION, BUT ESCAPING

 11       REVIEW.

 12                  THE COURT:      ALL RIGHT.     THANK YOU, MR. HEYSE.

 13                  MR. HEYSE:      YOU'RE WELCOME.

 14                  THE COURT:      MR. CRAIG?

 15                  MR. CRAIG:      YES, YOUR HONOR.

 16                          I'D LIKE TO START WITH THE MS. L.

 17       SETTLEMENT.       I HAVE A COPY OF THE SETTLEMENT AGREEMENT,

 18       WHICH I'M HAPPY TO PROFFER TO THE COURT, LODGE WITH THE

 19       COURT, AS THE COURT WISHES.

 20                          I WILL READ FROM THE SETTLEMENT

 21       AGREEMENT.    IT'S ACTUALLY A SETTLEMENT WITH RESPECT TO

 22       THREE DIFFERENT PIECES OF LITIGATION THAT HAVE BEEN

 23       KIND OF UNIFIED.

 24                          BUT AS TO THE MS. L. CLASS MEMBERS, IT

 25       STATES, "MS. L. CLASS MEMBERS AGREE TO REFRAIN FROM
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  1       ADDITIONAL LITIGATION SEEKING IMMIGRATION OR ASYLUM

  2       RELATED INJUNCTIVE, DECLARATORY OR EQUITABLE RELIEF

  3       THAT ARISES FROM THE FACTS AND CIRCUMSTANCES SET FORTH

  4       IN MS. L., M.M.M. AND DORA COMPLAINTS RELATING TO THOSE

  5       PARENTS AND CHILDREN COVERED BY THIS PLAN, INCLUDING

  6       STATUTORY CLAIMS."

  7                         SO THAT IS A -- IT'S -- I WOULD NOT

  8       CHARACTERIZE IT EVEN AS A RELEASE SO MUCH AS SOMETHING

  9       AKIN COVENANT NOT TO SUE.        AND IT'S LIMITED, WHICH IS

 10       IMPORTANT HERE, BECAUSE IT'S LIMITED TO LITIGATION

 11       SEEKING IMMIGRATION OR ASYLUM-RELATED INJUNCTIVE,

 12       DECLARATORY OR EQUITABLE RELIEF.

 13                         AND THAT'S -- THAT LIMITATION DOES NOT

 14       ENCOMPASS WHAT WE'RE SEEKING IN THIS CASE, WHICH IS THE

 15       MENTAL HEALTHCARE SERVICES AND SCREENING THAT ARE

 16       REQUIRED BECAUSE OF THE GOVERNMENT'S DELIBERATE POLICY.

 17                         AND SO THEY HAVE BARGAINED FOR THE

 18       LIMITED SCOPE OF THIS, I'LL CALL IT, "COVENANT" IN THE

 19       MS. L. CASE.      THEY CANNOT NOW BE HEARD TO ATTEMPT TO

 20       EXPAND THAT SCOPE OF COVERAGE TO PREVENT US FROM

 21       BRINGING CLAIMS SEEKING ENTIRELY SEPARATE RELIEF FROM

 22       WHAT'S ON THOSE CASES.

 23                  THE COURT:     IS THE RELIEF YOU'RE SEEKING HERE

 24       LIMITED TO THE PARENTS' -- MENTAL HEALTH TREATMENT FOR

 25       PARENTS?
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  1                  MR. CRAIG:     OUR CLIENTS ARE ALL PARENTS, OUR

  2       THREE NAMED PLAINTIFFS.       AND WE'RE SEEKING TO REPRESENT

  3       A CLASS OF PARENTS.

  4                         WE'RE SEEKING MENTAL HEALTHCARE SERVICES

  5       AND TREATMENT TO BE PROVIDED TO THE FAMILY UNIT.

  6                  THE COURT:     SLOW DOWN.

  7                  MR. CRAIG:     YES, YOUR HONOR.

  8                  THE COURT:     WELL, WHEN YOU SAY IT'S PROVIDED

  9       TO THE "FAMILY UNIT," IS THE RELIEF SOUGHT HERE RELIEF

 10       FOR PARENTS WHO ARE THE PLAINTIFFS AND THE PUTATIVE

 11       CLASS MEMBERS?

 12                  MR. CRAIG:     YES, YOUR HONOR.

 13                  THE COURT:     AND NOT THE CHILDREN?

 14                  MR. CRAIG:     YES, YOUR HONOR.

 15                  THE COURT:     AND SO IS IT YOUR -- IS WHAT

 16       YOU -- WHEN YOU JUST REFERRED TO THE "FAMILY UNIT," ARE

 17       YOU SAYING THAT, IF APPROPRIATE -- IF AN APPROPRIATE

 18       EVALUATION WERE MADE THAT CONTEMPLATED SOME

 19       COMMUNICATION INVOLVING PARENT AND CHILD OR TREATMENT

 20       INVOLVING PARENT AND CHILD, IT WOULD THEN BE REQUIRED?

 21                  MR. CRAIG:     YES, YOUR HONOR.

 22                         OUR EXPERTS HAVE SAID THAT THE VIOLENCE

 23       THAT WAS DONE HERE WAS DONE TO THE INTEGRITY OF THE

 24       FAMILY UNIT.      IT'S A MATTER OF TEARING CHILDREN AND

 25       PARENTS APART.
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  1                         AND THE THERAPY IS NEEDED TO PROVIDE

  2       PARENTS IN PARTICULAR WITH THE TOOLS THEY NEED TO, FOR

  3       EXAMPLE, EXPLAIN WHAT'S BEEN DONE, TO REASSURE THEIR

  4       CHILDREN THAT IT'S NOT GOING TO BE REPEATED, AND THAT

  5       THEY'RE SAFE NOW.

  6                  THE COURT:     MR. HEYSE, JUST WITH RESPECT TO

  7       ONE ISSUE.    IS THERE ANY OBJECTION IF THE COPY OF THE

  8       SETTLEMENT AGREEMENT IN THE MS. L. MATTER IS LODGED --

  9       IS FILED ON THE DOCKET HERE UNDER SEAL, IF IT WAS FILED

 10       UNDER SEAL?

 11                  MR. CRAIG:     IT'S NOT.

 12                  THE COURT:     IT IS ON DOCKET IN THE --

 13                  MR. CRAIG:     IT IS.

 14                  THE COURT:     MR. HEYSE, ANY OBJECTION IF THAT'S

 15       FILED HERE?

 16                  MR. HEYSE:     IF IT IS A PUBLIC DOCUMENT, NO.

 17       NO OBJECTION.

 18                  THE COURT:     WHY DON'T YOU AFTER THE --

 19       MR. CRAIG, BEFORE THAT'S FILED, I'D LIKE YOU TO CONFER

 20       WITH MR. HEYSE AND MAKE SURE THERE'S NO OBJECTION BASED

 21       ON THIS BEING A PUBLICLY-AVAILABLE DOCUMENT FROM THE

 22       DOCKET IN MS. L.

 23                         AND, IF SO, I'D LIKE YOU TO FILE A COPY

 24       HERE.

 25                  MR. CRAIG:     YES, OF COURSE, YOUR HONOR.
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  1                  THE COURT:     THANK YOU.

  2                         IT'LL BE LODGED RATHER THAN FILED.

  3                         OKAY.   MR. CRAIG, WITH RESPECT TO ANOTHER

  4       ISSUE RAISED BY MR. HEYSE, TRANSITION, ONE OF THE CASES

  5       WE'VE BEEN DISCUSSING INVOLVES A TRANSITION FOR

  6       PRESCRIPTION MEDICATIONS AND EXPECTATION OF A FEW WEEKS

  7       OF PRESCRIPTION MEDICATIONS TO PERMIT THE PERSON WHO

  8       WAS FORMERLY DETAINED TO OBTAIN A REFILL OF THAT

  9       PRESCRIPTION ELSEWHERE.

 10                         WHAT IS THE TRANSITION PERIOD THAT YOU'RE

 11       SEEKING -- FOR WHICH YOU'RE SEEKING RELIEF HERE?

 12                  MR. CRAIG:     IT'S -- IF YOU LOOK AT WAKEFIELD,

 13       THE STANDARD IS, THE AMOUNT OF TIME IT WOULD TAKE FOR

 14       THE PERSON TO OBTAIN THE NEEDED TREATMENT ON THEIR OWN.

 15                         SO, IN THIS CASE, WHAT WE'RE TALKING

 16       ABOUT, AGAIN, IS A KIND OF INVISIBLE, INTANGIBLE MENTAL

 17       INJURY.    IT'S NOT A BLEEDING LEG THAT ANYONE CAN TELL

 18       THAT REQUIRES STITCHES.       THIS IS A CASE WHERE PEOPLE

 19       ARE SUFFERED SEVERE PSYCHOLOGICAL TRAUMA AS A RESULT OF

 20       THE FAMILY SEPARATION POLICY THAT THE GOVERNMENT

 21       IMPLEMENTED.      AND OUR EXPERTS HAVE SAID THAT, THE

 22       SOONER THAT THE TREATMENT CAN BE PROVIDED, THE BETTER.

 23                         SO IT'S NOT POSSIBLE, AT THIS EARLY STAGE

 24       IN LITIGATION, TO SAY IT NEEDS TO BE A WEEK, TWO WEEKS,

 25       A MONTH.    IT'S GOING TO DEPEND ON THE ASSESSMENTS THAT
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  1       ARE DONE OF THE PLAINTIFFS AND THE CLASS MEMBERS.

  2                         BUT WE THINK THAT AS -- IT WILL BE A

  3       LIMITED PERIOD UNDER THE WAKEFIELD PRONG.           BUT AS YOUR

  4       HONOR RECOGNIZED, THAT'S ONLY ONE OF THE TWO BASES ON

  5       WHICH WE'RE SEEKING THE RELIEF HERE.

  6                  THE COURT:     I UNDERSTAND.

  7                         BUT JUST STAYING WITH THAT ONE.         I KNOW

  8       WE'RE EXCEEDING, POTENTIALLY, THE MOTION TO DISMISS

  9       HERE.

 10                         BUT YOU'RE SEEKING A JUDICIAL ORDER THAT

 11       WOULD SAY -- HOW WOULD YOU -- HOW DO YOU CONTEND YOU

 12       DEFINE WHAT'S AN APPROPRIATE TRANSITION PERIOD IN AN

 13       ORDER GIVEN THAT YOU HAVE ESTIMATED THAT THIS MATTER

 14       MAY NOT BE READY FOR TRIAL FOR EIGHT MONTHS OR MORE AND

 15       THE GOVERNMENT THINKS MAYBE LONGER THAN THAT?

 16                  MR. CRAIG:     THIS IS A WELL KNOWN -- THE

 17       GOVERNMENT IS WELL AWARE OF THE SCREENING PROCESSES

 18       THAT NEED TO TAKE PLACE HERE.        THEY HAVE A FORM THAT

 19       WE'VE FILED.      AND WE THINK THAT, AS A FIRST STEP, THAT

 20       SCREENING SHOULD BE DONE FOR ALL THE CLASS MEMBERS.

 21                         ONCE THAT SCREENING HAS BEEN DONE, WE

 22       OUGHT TO BE IN A POSITION TO BETTER TO SAY, IF OUR

 23       RELIEF IS LIMITED TO WAKEFIELD ALONE, WHICH WE DON'T

 24       THINK IT SHOULD BE, THAT A REASONABLE TRANSITIONAL

 25       PERIOD FOR OUR PLAINTIFFS AND CLASS MEMBERS IS A
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  1       CERTAIN LENGTH.      THIS, OBVIOUSLY, AGAIN, WE HAVE NOT

  2       HAD ANY DISCOVERY.      THIS IS THE MOTION TO DISMISS

  3       PHASE, FAIRLY EARLY IN THE CASE.

  4                         BUT I WOULD ALSO CALL THE COURT'S

  5       ATTENTION TO THE CIRCUMSTANCES THAT OUR PLAINTIFFS AND

  6       OUR CLASS MEMBERS FIND THEMSELVES IN.           THESE ARE NOT

  7       PEOPLE IN THE MAIN WHO ARE WELL INTEGRATED INTO

  8       AMERICAN SOCIETY AT PRESENT.        THEY DON'T, IN THE MAIN,

  9       HAVE HEALTH INSURANCE.       THEY DON'T, IN THE MAIN, HAVE

 10       JOBS OR SUBSTANTIAL RESOURCES OR FAMILIARITY DEALING

 11       WITH THE AMERICAN HEALTHCARE SYSTEM, AS COMPLEX AS WE

 12       ALL KNOW IT CAN BE.

 13                         THEY ARE, IN MANY CASES, FORBIDDEN FROM

 14       WORKING HERE, WHICH, OBVIOUSLY, COMPLICATES THEIR

 15       ABILITY TO ACCESS THE MEDICAL -- THE MENTAL HEALTHCARE

 16       SCREENING AND TREATMENT THAT WE ARE SEEKING HERE.

 17                         AND, IN MANY CASES, THEY MAY NOT KNOW

 18       THAT THEY SUFFER FROM THE INJURY THAT OUR EXPERTS SAY

 19       THEY ARE VERY LIKELY TO BE SUFFERING FROM, WHICH REALLY

 20       POINTS OUT THE LIMITATIONS OF THE GOVERNMENT'S ARGUMENT

 21       THAT THEY OUGHT TO HAVE SELF-IDENTIFIED TO THE WARDEN

 22       OR THE GUARDS IN THE FACILITIES IN WHICH THEY WERE

 23       DETAINED.

 24                         THESE ARE, AGAIN, INJURIES THAT ARE

 25       SERIOUS, SEVERE AND REAL, BUT NOT NECESSARILY
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  1       IMMEDIATELY APPARENT TO SOMEONE WITHOUT MEDICAL

  2       TRAINING THAT EVEN COULD SELF-DIAGNOSE AND SAY, I

  3       MYSELF NEED THIS THERAPY.

  4                  THE COURT:     JUST A MINUTE.

  5                         AGAIN, WE'RE A BIT BEYOND THE MOTION TO

  6       DISMISS.

  7                         BUT ARE YOU SAYING THAT IF,

  8       HYPOTHETICALLY -- PUTTING ASIDE THE STATE CREATED

  9       DANGER DOCTRINE, AND WE'VE DISCUSSED THAT BEFORE.

 10                         BUT ARE YOU SAYING THAT AFTER -- IF,

 11       HYPOTHETICALLY, SCREENING WERE REQUIRED AND

 12       IMPLEMENTED, AT THAT POINT, THERE WOULD BE A FURTHER

 13       DETERMINATION AS TO WHAT CONSTITUTED TRANSITIONAL

 14       TREATMENT?

 15                  MR. CRAIG:     I THINK THAT'S RIGHT.       I THINK

 16       THAT'S RIGHT, YOUR HONOR.

 17                         I THINK THIS IS A -- WE'RE DEALING WITH

 18       AN ISSUE HERE WHERE WE KNOW WHAT THESE PEOPLE NEED.

 19       SOME OF THEM, WHEN THE SCREENING IS DONE, WILL FALL

 20       AWAY AND SAY THEY DON'T NEED THE TRAUMA-INFORMED

 21       THERAPY THAT IS NECESSARY FOR OTHERS.

 22                         OTHERS MAY BE ABLE TO ACHIEVE A

 23       SUBSTANTIAL THERAPEUTIC BENEFIT AFTER A SHORT COURSE,

 24       AND THAT MAY BE SUFFICIENT.

 25                         WHAT'S MISSING HERE FROM THE WAKEFIELD
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  1       ANALYSIS THOUGH, I THINK, YOUR HONOR, IS, AGAIN, THE

  2       INDIVIDUALS DON'T NECESSARILY KNOW THAT THEY NEED THIS

  3       TREATMENT AT PRESENT.       THEY MAY FEEL THAT SOMETHING HAS

  4       GONE VERY WRONG IN THEIR LIVES.         THEY MAY FEEL THAT

  5       THEIR CHILD HAS REGRESSED, AS HAS BEEN REPORTED IN MANY

  6       CASES.    CHILDREN WHO WERE TOILET TRAINED ARE REGRESSING

  7       TO DIAPERS.

  8                         BUT THEY MAY NOT BE ABLE TO KIND OF PUT

  9       TWO-AND-TWO TOGETHER UNTIL THEY HAVE SOMEONE COME TO

 10       THEM AND SCREEN THEM AND SAY, "YOU HAVE SUFFERED A

 11       TRAUMA.    WE KNOW, AS MENTAL HEALTH EXPERTS, THAT TRAUMA

 12       CAN CAUSE THESE SORTS OF THINGS.         AND HERE ARE SOME

 13       TOOLS THAT YOU CAN USE TO ADDRESS THAT."

 14                         SO IF THE COURT PREFERRED TO HANDLE THIS

 15       IN KIND OF AN ITERATIVE FASHION, I --

 16                  THE COURT:     IF I ADOPTED -- IF I WERE

 17       PERSUADED TO DO WHAT YOU'VE JUST STATED, WOULD A CLASS

 18       PROCESS BE APPROPRIATE, OR WOULD THESE BE

 19       INDIVIDUALIZED DETERMINATIONS?

 20                  MR. CRAIG:     I THINK A CLASS PROCESS IS

 21       APPROPRIATE HERE, YOUR HONOR.

 22                         AND THE REASON IS, JUST AS IN ANY TOXIC

 23       TORT CASE OR ASBESTOS CASE, THE CLASS IS OFTEN DEFINED

 24       BY THE PEOPLE WHO ARE EXPOSED TO THE CONDITION.

 25                         DIFFERENT PEOPLE HAVE DIFFERENT REACTIONS
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  1       TO IT.    SOME REQUIRE EXTENSIVE TREATMENT.           SOME REQUIRE

  2       ONLY A LIMITED AMOUNT OF TREATMENT.             SOME MAY NOT

  3       REQUIRE TREATMENT AT ALL.

  4                         BUT THE COMMON ISSUES HERE ARE CLEAR.

  5       EVERYONE IN THE CLASS WAS SUBJECT TO THE FAMILY

  6       SEPARATION POLICY.       EVERYONE IN THE CLASS IS AT

  7       ELEVATED RISK OF THE NEGATIVE CONSEQUENCES OF THE

  8       TRAUMA THAT WAS INFLICTED ON THEM.         EVERYONE HERE WOULD

  9       BENEFIT BY THE SCREENING, IF ONLY TO DETERMINE, YES,

 10       FURTHER TREATMENT IS NECESSARY OR, NO, THIS PERSON IS

 11       NOT SUFFERING FROM TRAUMA.

 12                   THE COURT:    OKAY.    IS THERE ANY OTHER ISSUE

 13       YOU WANTED TO ADDRESS?

 14                   MR. CRAIG:    I WOULD BRIEFLY ADDRESS THE

 15       COMPENSATORY RELIEF POINT THAT THE GOVERNMENT ATTEMPTED

 16       TO RAISE IN CONNECTION WITH THE SOVEREIGN IMMUNITY

 17       POINT.

 18                         VERY BRIEFLY, I WILL JUST CALL THE

 19       COURT'S ATTENTION TO THE FACT THAT THE PHRASE USED IN

 20       THE APA IS "MONEY DAMAGES."        IT IS NOT ANY KIND OF

 21       RELIEF THAT MIGHT BE CONSTRUED AS COMPENSATORY, "MONEY

 22       DAMAGES."

 23                         AND THE COURT IN BOWEN MADE VERY CLEAR

 24       THAT YOU SHOULD READ THE STATUTORY LANGUAGE, THE

 25       EXCEPTION -- IT'S AN EXCEPTION TO THE WAIVER OF
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  1       SOVEREIGN IMMUNITY FOR MONEY DAMAGES.            AND THAT

  2       EXCEPTION OUGHT TO BE READ NARROWLY.

  3                          HERE, PLAINTIFFS ARE NOT SEEKING A

  4       DOLLAR.    WE ARE NOT SEEKING THE GOVERNMENT PUT A SINGLE

  5       NICKEL IN ANY PLAINTIFF OR CLASS MEMBER'S POCKET.

  6                          WE ARE SEEKING THE SERVICES TO WHICH THE

  7       PLAINTIFFS AND THE CLASS MEMBERS WERE ENTITLED BOTH IN

  8       DETENTION FOR A REASONABLE PERIOD THEREAFTER UNDER THE

  9       WAKEFIELD DOCTRINE, AND GOING FORWARD UNDER THE STATE

 10       CREATED DANGER DOCTRINE.         THAT'S JUST THE SERVICES TO

 11       WHICH THEY'RE ENTITLED.

 12                          IT IS NOT COMPENSATORY RELIEF MEANT TO

 13       MAKE THEM -- GIVE THEM A SUM OF MONEY TO TRY TO MAKE

 14       THEM WHOLE.       IT'S TO GIVE THEM THE SERVICES TO WHICH

 15       THEY WERE ENTITLED.

 16                  THE COURT:      ALL RIGHT.     THANK YOU, MR. CRAIG.

 17                  MR. CRAIG:      THANK YOU.

 18                  THE COURT:      MR. HEYSE, ANYTHING NEW?

 19                  MR. HEYSE:      YES, YOUR HONOR.

 20                          IF I MAY RESPOND?

 21                          ONE UPDATE, THE MS. L. SETTLEMENT IS

 22       ACTUALLY NOT A FINAL SETTLEMENT.          THE CASE IS NOT

 23       WRAPPING UP.      I BELIEVE MY OPPOSING COUNSEL SAID

 24       SOMETHING SIMILAR TO THAT EFFECT, BUT I HAVE RECEIVED

 25       CONFIRMATION FROM HIGH AUTHORITY IN THE JUSTICE
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  1       DEPARTMENT THAT THAT IS THE CASE.

  2                  THE COURT:     THAT'S FINE.

  3                         BUT THERE'S SOME -- WELL, I WANT THE TWO

  4       OF YOU TO CONFER AND SEE WHETHER YOU AGREE THAT THIS

  5       DOCUMENT THAT'S BEEN CITED CAN BE LODGED.

  6                  MR. HEYSE:     YES.   WE WILL CERTAINLY DISCUSS

  7       THAT, YOUR HONOR.

  8                  MR. CRAIG:     IF I MAY, YOUR HONOR --

  9                  THE COURT:     JUST A MINUTE.

 10                         GO AHEAD, MR. HEYSE.

 11                  MR. CRAIG:     I WILL JUST NOTE --

 12                  THE COURT:     JUST A MINUTE, PLEASE.

 13                         LET ME HEAR FROM MR. HEYSE.

 14                  MR. HEYSE:     REGARDING WAKEFIELD, WHAT THE

 15       PLAINTIFFS ARE DESCRIBING NOW IS A PRETTY REMARKABLE

 16       SHIFT BOTH FROM WHAT THEY HAVE ASKED FOR, BUT ALSO FROM

 17       WAKEFIELD ITSELF.

 18                         I'M PARAPHRASING.     I THINK I PRETTY

 19       ACCURATELY JOTTED DOWN THE QUOTE.         BUT THEY ASKED FOR

 20       THE AMOUNT OF TIME NEEDED TO OBTAIN TREATMENT ON THEIR

 21       OWN, IS THE TRANSITION PERIOD.         BUT, ALSO, THAT THAT'S

 22       NOT POSSIBLE AT THIS EARLY STAGE OF THE LITIGATION.

 23       SO, ESSENTIALLY, IT'S DEFERRING WHEN THE CLOCK STARTS,

 24       WHICH IS NOT AT ALL WHAT WAKEFIELD WAS ABOUT.

 25       WAKEFIELD WAS ABOUT THE IMMINENT NEED FOR CARE UPON
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  1       RELEASE GIVEN THE INDIVIDUAL'S INABILITY TO OBTAIN CARE

  2       ON THEIR OWN.

  3                         SO TO SUGGEST THAT THE GOVERNMENT STILL

  4       HAS SOME KIND OF SCREENING BURDEN TO FIGURE OUT WHETHER

  5       OR NOT THESE INDIVIDUALS NEED CARE THAT THEY ALLEGEDLY

  6       DIDN'T GET, BUT THEY NEED IT NOW, AND THEN THAT STARTS

  7       THE CLOCK FOR HOW LONG THE GOVERNMENT HAS TO PROVIDE,

  8       IT IS VERY FAR AFIELD FROM WHAT WAKEFIELD ORIGINALLY

  9       DESCRIBED.

 10                         PLAINTIFFS ALSO HAVEN'T MENTIONED THE

 11       AVAILABILITY OF BOTH THE SAMSHA GRANT, WHICH I ALSO CAN

 12       CONFIRM IS UNAFFECTED BY THE SHUTDOWN.            I ALSO JUST GOT

 13       THAT INFORMATION.

 14                         BUT, ALSO, THE AVAILABILITY OF PRO BONO

 15       MENTAL HEALTHCARE THAT WAS DISCUSSED IN THE SAME BREATH

 16       AS I MENTIONED BEFORE IN MS. L. WHEN THEY WERE ASKING

 17       FOR THE GOVERNMENT TO CREATE A FUND THERE.

 18                         PLAINTIFFS ALSO DESCRIBE HOW THESE

 19       INDIVIDUALS -- THE PLAINTIFFS AND THE POTENTIAL

 20       PUTATIVE CLASS MEMBERS MAY LACK SOPHISTICATION.              THEY

 21       MAY LACK JOBS.      THEY'RE UNABLE TO NAVIGATE THE AMERICAN

 22       HEALTHCARE SYSTEM.      BUT, MOST SIGNIFICANTLY, THEY MAY

 23       NOT KNOW EVEN THAT THEY ARE INJURED.            THAT'S A PRETTY

 24       REMARKABLE STATEMENT THAT GOES TO THE SPECULATIVE

 25       NATURE OF THESE CLAIMS.
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  1                         PLAINTIFFS OWN WORDS DESCRIBE HOW

  2       INDIVIDUALS HAVE, QUOTE, "A VARIETY OF RESPONSES" TO

  3       THIS ALLEGED TRAUMA.       THAT FLATLY RENDERS THIS CASE

  4       INAPPROPRIATE FOR B(2) CLASS TREATMENT, WHICH REQUIRES

  5       THAT ANY RESOLUTION, ANY INJUNCTIVE RELIEF BENEFIT ALL

  6       OR NONE.    IT CAN'T BE PIECEMEAL.

  7                         SO WHAT THEY'RE ASKING FOR HERE IS A BIT

  8       OF, SOME OF COLUMN A, SOME OF COLUMN B, SOME OF COLUMN

  9       C, MAYBE SOME PEOPLE DON'T FIT INTO ANY OF THOSE

 10       COLUMNS.    IT'S SIMPLY NOT WHAT B(2) CLASSES ARE

 11       DESIGNED FOR.     THAT JUST DOESN'T MAKE ANY SENSE.

 12                         LASTLY, WITH RESPECT TO THE STATE-CREATED

 13       DANGER THEORY, SOMETHING I HAVEN'T HEARD MENTIONED AT

 14       ALL --

 15                  THE COURT:     WELL, I SHORTCUT THAT DISCUSSION,

 16       BUT GO AHEAD.

 17                  MR. HEYSE:     OKAY.    THANK YOU, YOUR HONOR.

 18                         THE ONE CRITICAL PART THAT IS ABSENT HERE

 19       IS THE NINTH CIRCUIT IN HENRY A. STATED THAT, THE

 20       STATE-CREATED DANGER THEORY ONLY APPLIES IF THE

 21       PLAINTIFF WAS HARMED BY A THIRD PARTY.           WE DON'T HAVE A

 22       THIRD PARTY HERE.

 23                         WHAT WE HAVE HERE IS AN INDIVIDUAL OR

 24       INDIVIDUALS TRYING TO BASICALLY FILE AND OBTAIN

 25       TORT-LIKE DAMAGES WITHOUT ANY OF THE TORT-LIKE
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  1       REQUIREMENTS.

  2                         THERE'S A VARIETY OF VEHICLES POTENTIALLY

  3       AVAILABLE TO THEM, BUT INJUNCTIVE RELIEF IS NOT THE

  4       APPROPRIATE VEHICLE.

  5                         TO GET THERE, IT REQUIRES EITHER

  6       STRETCHING WAKEFIELD FAR BEYOND ITS LIMITS, OR

  7       STRETCHING THE STATE-CREATED DANGER THEORY TO APPLY TO

  8       A SITUATION WHERE IT HAS NEVER PREVIOUSLY BEEN.

  9                  THE COURT:     ALL RIGHT.     THANK YOU.

 10                  MR. HEYSE:     THAT'S ALL I HAVE, YOUR HONOR.

 11                  THE COURT:     THANK YOU, MR. HEYSE.

 12                         IS THERE SOMETHING YOU WANTED TO ADD,

 13       BRIEFLY, MR. CRAIG?

 14                  MR. CRAIG:     YES, YOUR HONOR.      VERY, VERY

 15       BRIEFLY.

 16                         THERE'S NO SPECULATION HERE ABOUT THE

 17       EXISTENCE OF THE INJURY.        THERE'S -- GIVEN THE NATURE

 18       OF THE TRAUMA, NOT ONLY OUR EXPERTS HAVE RECOGNIZED

 19       THAT THIS TRAUMA HAS BEEN INFLICTED, BUT THE

 20       GOVERNMENT'S OWN OFFICIALS HAVE DONE SO, AS YOU HAVE

 21       SEEN IN OUR PRELIMINARY INJUNCTION REPLY.           TESTIMONY

 22       BEFORE CONGRESS ESTABLISHES THAT THE GOVERNMENT KNEW

 23       WELL THAT SEPARATING FAMILIES FROM -- PARENTS FROM

 24       CHILDREN WOULD INFLICT TRAUMA.         AND THEY HAD GRAVE

 25       CONCERNS ABOUT IT.      AND, YET, THE POLICY WENT FORWARD.
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  1                         AS TO THE WAKEFIELD POINT THAT THE

  2       GOVERNMENT WAS JUST RAISING, IT WOULD BE INEQUITABLE TO

  3       ALLOW THE GOVERNMENT TO ESCAPE ITS OBLIGATIONS TO

  4       PROVIDE THE REQUIRED SCREENING AND TREATMENT BOTH IN

  5       DETENTION AND FOR THE REASONABLE PERIOD THEREAFTER BY

  6       ALLOWING THEM TO RUN OUT THE CLOCK IN LITIGATION.             THEY

  7       SHOULD HAVE DONE THE SCREENING WHEN OUR PLAINTIFFS AND

  8       CLASS MEMBERS WERE DETAINED.

  9                         FAILING THAT, THEY SHOULD HAVE DONE IT

 10       WHEN WE FILED OUR COMPLAINT IN JULY WHEN AT LEAST ONE

 11       OF OUR PLAINTIFFS WAS STILL DETAINED.           THEY DID NOT.

 12                         AND FOR THEM TO SAY, NOW THAT TIME HAS

 13       ELAPSED, THAT WAKEFIELD -- THE CLOCK HAS RUN OUT IS

 14       ALLOWING THEM TO TAKE ADVANTAGE OF THEIR OWN

 15       NONFEASANCE.

 16                         ONE VERY BRIEF PROCEDURAL POINT BEFORE I

 17       WRAP UP.    THE MS. L. SETTLEMENT AGREEMENT, I'LL

 18       REPRESENT TO THE COURT THAT I FOUND IT ON PACER.             IT

 19       HAS BEEN FILED PUBLICLY.        I WILL CONFER WITH COUNSEL

 20       AND LODGE IT.     BUT I WANTED TO MAKE THAT CLEAR, THAT'S

 21       WHERE WE GOT IT.

 22                  THE COURT:     NO, I UNDERSTAND.

 23                         I THINK THE ISSUE IS, WHETHER IT'S A

 24       FINAL AGREEMENT OR AN INTERIM ONE.         I THINK THAT'S WHAT

 25       WAS BEING RAISED BY MR. HEYSE.
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  1                  MR. CRAIG:     I SEE.

  2                         AND LIKE I SAID, WE WILL CONFER ON THAT.

  3                         JUST TO WRAP.    THE STATE-CREATED DANGER

  4       DOCTRINE, THE GOVERNMENT IS JUST NOT ACCURATELY

  5       DESCRIBING THE STATE OF NINTH CIRCUIT LAW.

  6                         AS YOUR HONOR RECOGNIZED IN HIS TENTATIVE

  7       RULING AT THE OUTSET, THE DOCTRINE HAS BEEN APPLIED TO

  8       EXPOSING PEOPLE TO THE COLD, TO A STATE OFFICIAL

  9       EJECTING SOMEONE FROM A BAR ON A VERY COLD NIGHT, AND

 10       THEM SUBSEQUENTLY DYING OF HYPOTHERMIA.

 11                         IT APPLIED IN A CASE WHERE GOVERNMENT

 12       SUPERVISORS REQUIRED A SUBORDINATE TO WORK IN A

 13       MOLD-INFESTED FACILITY IN A CASE THAT THE GOVERNMENT

 14       ITSELF CITED IN ITS PRIOR BRIEFING.

 15                         SO IT'S JUST NOT ACCURATE THAT THE NINTH

 16       CIRCUIT REQUIRES A THIRD PARTY.

 17                  THE COURT:     ALL RIGHT.     THANK YOU.

 18                  MR. CRAIG:     THANK YOU.

 19                  THE COURT:     HERE'S WHAT I'D LIKE YOU TO DO

 20       THEN:

 21                         AS WE'VE DISCUSSED MORE THAN ONCE, I'D

 22       LIKE COUNSEL, PLEASE, TO CONFER ABOUT LODGING A COPY OF

 23       THE AGREEMENT OR THE -- WHATEVER ITS SCOPE IS IN THE

 24       MS. L. MATTER.

 25                         SECOND, I'D LIKE THE GOVERNMENT TO
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  1       PROVIDE, WITHIN 14 DAYS, AN UPDATE, IF THERE IS ONE --

  2       UPDATE OR A STATEMENT THAT THERE'S NOT -- THEY DON'T

  3       HAVE -- THE GOVERNMENT DOESN'T HAVE AN UPDATE

  4       CONCERNING WHETHER ANY OF THE PUTATIVE CLASS MEMBERS IS

  5       STILL BEING DETAINED.

  6                         AND, FINALLY, I'D LIKE COUNSEL TO CONFER

  7       FURTHER WITH RESPECT TO A POTENTIAL SETTLEMENT PROCESS.

  8       YOU'VE ALREADY DISCUSSED IT HERE.

  9                         I RECOGNIZE WHAT -- I'VE HEARD WHAT YOU

 10       HAVE SAID.    AND I UNDERSTAND THAT THE GOVERNMENT THINKS

 11       IT WAS -- BELIEVES THAT SOME FURTHER RESPONSE FROM THE

 12       PLAINTIFFS MAY BE APPROPRIATE.

 13                         I UNDERSTAND THAT EACH SIDE THINKS THERE

 14       MAY BE SOME CONCERNS ABOUT WHETHER IT WOULD BE

 15       PRODUCTIVE.

 16                         I THINK BOTH SIDES SEEM TO AGREE THAT, IF

 17       THERE WERE SOMETHING MEANINGFUL TO DISCUSS, DOING SO

 18       WITH A BENCH OFFICER MIGHT BE PRODUCTIVE.           SO I'D LIKE

 19       YOU TO HAVE ANOTHER DISCUSSION ABOUT THAT.

 20                         AND, WITHIN A WEEK, JUST FILE A REPORT ON

 21       THE PROCEDURAL, NOT SUBSTANCE.         NOT WHAT ANYBODY HAS

 22       SAID OR OFFERED OR NOT OFFERED OR ANYTHING LIKE THAT.

 23       JUST DO YOU THINK THAT THERE WOULD BE A -- WHAT IS

 24       YOUR -- WHAT ARE YOUR CURRENT COLLECTIVE AND/OR

 25       RESPECTIVE VIEWS ON WHETHER THERE COULD BE A PRODUCTIVE
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  1       MEANS OF DISCUSSING A POTENTIAL RESOLUTION OF THIS

  2       MATTER?

  3                         AND IF SO, WHEN?

  4                         I MEAN, IS IT AFTER THEIR RULINGS ON

  5       CURRENT MOTIONS?

  6                         HOW DO YOU SEE IT?

  7                         AND I URGE YOU TO GIVE THAT SOME SERIOUS

  8       THOUGHT.

  9                         AND TO THE EXTENT THAT YOU THINK THAT THE

 10       PROCESS MIGHT BE FACILITATED BY WORKING WITH A BENCH

 11       OFFICER, PLEASE MAKE THAT NOTE SO THAT I CAN CONSIDER

 12       HOW BEST TO ADDRESS THAT, SHOULD THAT BE NEEDED OR

 13       APPROPRIATE.

 14                         ANYTHING ELSE WE NEED TO DO TODAY?

 15                  MR. CRAIG:     NO, YOUR HONOR.

 16                  THE COURT:     MR. HEYSE?

 17                  MR. HEYSE:     IF I MAY MENTION, YOUR HONOR?

 18       GIVEN THE SHUTDOWN, WE'RE OBVIOUSLY GOING TO DO

 19       EVERYTHING WE CAN TO COMPLY WITH THESE DEADLINES.

 20       UNFORTUNATELY, WE ARE AT THE MERCY OF SEVERE

 21       UNAVAILABILITY OF RESOURCES AND --

 22                  THE COURT:     NO, I UNDERSTAND.

 23                  MR. HEYSE:     -- FLAT OUT PEOPLE.

 24                         SO TO THE EXTENT WE CAN'T --

 25                  THE COURT:     IF YOU CAN'T, THEN YOU'LL TELL ME
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  1       THAT.   I UNDERSTAND.

  2                          THAT'S WHAT I MEANT WHEN I SAID, "GIVE ME

  3       AN UPDATE."       IF YOU CANNOT DO IT, YOU'LL TELL ME, FOR

  4       EXAMPLE, WITH THOSE PEOPLE WHO MAY STILL BE DETAINED,

  5       IF THAT'S INFORMATION THAT YOU CANNOT ASSEMBLE BECAUSE

  6       YOU DON'T HAVE THE ABILITY TO ACCESS THOSE WHO MIGHT

  7       KNOW, THEN YOU'LL TELL ME THAT.

  8                          I RECOGNIZE IT MEANS YOU HAVE TO WRITE A

  9       REPORT, BUT I'D LIKE TO KEEP UP TO DATE.

 10                  MR. HEYSE:      RIGHT.    I HAVE TO GET THIS

 11       AUTHORIZED AND DECLARED ACCEPTED WORK FOR US TO

 12       CONTINUE WORK AFTER TODAY'S FOR PURPOSES OF THE

 13       HEARING.

 14                  THE COURT:      I'VE TRIED TO LIMIT WHAT I EXPECT

 15       FROM YOU TO A NARROW GROUP OF ACTIONS.

 16                          OKAY.   THANK YOU.

 17                  MR. CRAIG:      THANK YOU, YOUR HONOR.

 18                  MR. HEYSE:      THANK YOU, YOUR HONOR.

 19                          (END OF PROCEEDINGS)

 20

 21

 22

 23

 24

 25
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  1                     CERTIFICATE OF OFFICIAL REPORTER

  2

  3       COUNTY OF LOS ANGELES              )
                                             )
  4       STATE OF CALIFORNIA                )

  5
                            I, ALEXANDER T. JOKO, FEDERAL OFFICIAL
  6
          COURT REPORTER, IN AND FOR THE UNITED STATES DISTRICT
  7
          COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA, DO HEREBY
  8
          CERTIFY THAT PURSUANT TO SECTION 753, TITLE 28, UNITED
  9
          STATES CODE, THAT THE FOREGOING IS A TRUE AND CORRECT
 10
          TRANSCRIPT OF THE STENOGRAPHICALLY REPORTED PROCEEDINGS
 11
          HELD IN THE ABOVE-ENTITLED MATTER, AND THAT THE
 12
          TRANSCRIPT PAGE FORMAT IS IN CONFORMANCE WITH THE
 13
          REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED
 14
          STATES.
 15
          DATE:     JANUARY 15, 2018
 16

 17

 18                              /S/ ALEXANDER T. JOKO
                                 ________________________________
 19                              ALEXANDER T. JOKO, CSR NO. 12272
                                 FEDERAL OFFICIAL COURT REPORTER
 20

 21

 22

 23

 24

 25
